Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.398 Filed 02/02/22 Page 1 of 55




                             Exhibit 4:
          Dr. Elizabeth Letourneau Expert Report
Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.399 Filed 02/02/22 Page 2 of 55




   AFFIDAVIT OF PROFESSOR ELIZABETH J. LETOURNEAU, PHD

  1. I, Elizabeth J. Letourneau, have been retained as an expert by Plaintiffs in
     this action challenging Michigan’s SORA 2021.

  Background and Experience

  2. I am a tenured full professor in the Department of Mental Health, Johns
     Hopkins Bloomberg School of Public Health, Johns Hopkins University,
     where I am also the inaugural director of the Moore Center for the
     Prevention of Child Sexual Abuse.

  3. My scholarly expertise lies in the areas of Sex Crime Policy, Practice, and
     Prevention. I serve/have served as Principal Investigator or equivalent on sex
     crime-related research projects funded by federal agencies (Centers for
     Disease Control and Prevention, National Institutes of Health, National
     Institute of Justice, National Science Foundation, and Office of Juvenile
     Justice and Delinquency Prevention), foundations (Annie E. Casey Founda-
     tion, Bloomberg Foundation, Oak Foundation), and private benefactors. My
     research has garnered approximately $40 million in external funding and
     resulted in more than 110 research-based articles and chapters in my field’s
     leading journals and texts, dozens of which pertain to the effects of sex
     offender registration and notification laws. I co-edited the comprehensive
     text Handbook of What Works with Sexual Offenders: Contemporary
     Perspectives in Theory, Assessment, Treatment and Prevention.

  4. I am recognized both nationally and internationally as one of the leading
     researchers on child sexual abuse perpetration prevention. I was nominated
     to serve on the Center for Disease Control and Prevention’s National Center
     for Injury Control and Prevention Scientific Advisor Board (nomination is
     pending approval from DHHS) and spoke on the prevention of child sexual
     abuse at an invitation-only event hosted in Rome by the Roman Catholic
     Church, which included meeting Pope Francis. More specific to my research
     on sex offender registration and notification, I was among the experts
     interviewed for the revised Model Penal Code, released by the American
     Law Institute in June 2021, after a 9-year revision process. The Revised
     Model Penal Code cites five of my publications and one of my federally
     funded research projects in support of their recommendations to
     severely limit registration and to eliminate public notification. Other
     recent professional service includes but is not limited to:


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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.400 Filed 02/02/22 Page 3 of 55




         • Inaugural member, European Union Expert Advisory Committee on
           the sexual abuse and exploitation of children (2021-)
         • Advisory Committee, Australian Institute of Criminology Child
           Sexual Abuse (2020-)
         • Advisor to the US DOJ National Strategy for Child Exploitation
           Prevention and Interdiction (2020-)
         • Technical Expert Group to Advise the World Bank on CSA (2020-)
         • Violence Prevention Policy Network, which supports the CDC’s
           violence prevention efforts (2020-)
         • Czech Republic National Institute of Mental Health Evolutionary
           Sexology and Psychopathology Paraphile Project: International
           Advisory Board member (2019-)
         • ITU UNESCO Broadband Commission for Sustainable Development
           Working Group on Child Safety Online (2019)
         • End Child Sexual Abuse Advisory Group, Stop It Now!/Lucy
           Faithful Foundation (2019-)
         • National Academy of Sciences Global Forum on Violence Prevention
           (2018-20)
         • World Health Organization Guidelines Development Group for
           Guidelines for responding to the sexual abuse of children and
           adolescents (2016-17)

  5. A copy of my curriculum vitae, which includes all my publications in the
     last ten years, is attached, along with a statement showing the cases in which
     I have served as an expert witness on similar issues.

  Research Findings

  6. As I detail in the sections below, my research and that of others in my field
     finds that:

          sex offender registration and notification (SORN) laws like Michi-
           gan’s fail to improve community safety in any way;

          instead, these costly policies waste taxpayer funds and make it diffi-
           cult for ex-offenders to find and maintain housing, employment, and
           pro-social positive relationships, thus increasing the likelihood that
           registrants will recidivate;

          stable housing, employment, and relationships with law-abiding
           prosocial friends and family are the three most important factors

                                        2
Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.401 Filed 02/02/22 Page 4 of 55




            associated with successful reintegration into society for ex-offenders
            (sexual or otherwise);

          modern SORN laws fail to make the public safer because:

               • sexual recidivism rates are low to begin with, and most people
                 on Michigan’s registry will never be convicted of a second
                 sexual offense;

               • such laws fail to distinguish between the large percentage of
                 people who present a lower risk of re-offending (especially
                 over time) and the much smaller percentage of people who
                 present a higher risk of re-offending (although that risk also
                 decreases over time);

               • without exception the entire published literature focusing on
                 juvenile registration and notification fails to find any public
                 safety effect of SORNA-based laws;

               • such laws have unintended consequences that put the public at
                 greater risk, like more sex offenses being pled down to non-sex
                 offenses to avoid the onerous consequences of the registry, and
                 lower conviction rates for those cases that were not pled out
                 but went forward to trial;

               • such laws are expensive to implement and maintain, wasting
                 government resources that could be used to make communities
                 safer and reduce sexual offending; and

               • such laws put misplaced emphasis on monitoring and enforcing
                 compliance violations – clogging the courts and filling up jails
                 and prisons – when compliance violations do not correlate with
                 increased recidivism;

          the risk of sexual offense recidivism can be lowered by laws that
           address the factors empirically shown to increase risk.

  I. MODERN SCIENTIFIC RESEARCH ON REGISTRATION AND NOTIFICATION
     (SORN) LAWS SHOWS LITTLE OR NO COMMUNITY SAFETY IMPACT

  7. Sex offender registration and notification laws are justified as being neces-
     sary to reduce sexual re-offending by people convicted of sex crimes. There

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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.402 Filed 02/02/22 Page 5 of 55




       are at least 21 studies that evaluated registration and notification laws, of
       which 14 specifically examined policy effects on sexual re-offense rates. All
       but two fail to find any effect on sexual or violent re-offense rates. As
       detailed below, the two studies that nominally support registration assessed
       unusual state polices and failed to account for declining crime trends that
       preceded policy implementation. 1

           • In the earliest days of modern registration and notification laws, a
             1995 study compared the recidivism rates of 90 Washington state sex
             offenders designated as high risk and subject to aggressive notifica-
             tion with a sample of 90 similar offenders released prior to the law’s
             enactment 2. The groups were statistically equivalent (i.e., no statis-
             tically significant differences were found). Over a four-and-a-half
             year follow-up period, 19% of the community notification group and
             22% of the comparison group were arrested for new sexual offenses.

           • A subsequent study (2005) examined the impact of Washington
             state’s original registration policy and the impact of a subsequent
             significant revision designed to increase consistency. Results,
             informed by data from 8,359 sex crime cases, suggested the policy
             was associated with a significant reduction in recidivism 3. Notably,
             this study was never published in a peer review scientific journal and
             has been criticized for failing to account for declines in violent crimes
             that preceded the revised policy. Specifically, it has been argued that
             the failure to account for declining crime trends, in addition to failure
             to address autocorrelation of data over time, likely account for differ-
             ences found in the Washington study.4

           • An Iowa study (2000) tracked 223 sex offenders listed on the sex
             offender registry for a follow-up period of approximately 4 years.

1
  Sandler, J. C., Freeman, N. J., & Socia, K. M. (2008). Does a watched pot boil? A time series
analysis of New York State’s sex offender registration and notification law. Psychology, Public
Policy, and Law, 14, 284-302.
2
  Schram, D., & Milloy, C. D. (1995). Community notification: A study of offender
characteristics and recidivism. Olympia, WA: Washington Institute for Public Policy.
3
  Barnoski, R. (2005). Sex offender sentencing in Washington state: Did community notification
influence recidivism? Olympia: Washington State Institute for Public Policy.
4
  Sandler, J. C., Freeman, N. J., & Socia, K. M. (2008). Does a watched pot boil? A time series
analysis of New York State’s sex offender registration and notification law. Psychology, Public
Policy, and Law, 14, 284-302.

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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.403 Filed 02/02/22 Page 6 of 55




               Three percent of the registered sex offenders were rearrested for a
               new sex crime, compared with 3.5% of 201 sex offenders who were
               not required to register because they were convicted before the law
               went into effect. This difference was not statistically significant 5.

           • Likewise, a subsequent 2010 study of Iowa’s law involving data on
             1,582 sexual offenders found no effects on sexual re-offense rates 6.

           • In Wisconsin (2006), 47 high-risk sex offenders subject to aggressive
             community notification had higher rates of recidivism (19%) than 166
             high-risk sex offenders who were not subject to notification (12%),
             although this difference was not statistically significant 7.

           • In South Carolina, we conducted a series of studies examining the
             impact of registration on the adult recidivism rates of people adju-
             dicated as minors. In an initial study in 2008, we compared the re-
             offense rates of 111 registered youths with 111 nonregistered youths
             who were matched on type of index sexual offense and the year that
             offense occurred, age at index offense, race, and prior violent and
             nonviolent offenses 8. These two groups were as similar as possible
             except for the fact that one group was subjected to registration and
             notification requirements and the other group was not. Over an
             average 4-year follow-up period, the sexual offense reconviction rate
             was less than 1%. There were only two sexual recidivism events for
             these 222 cases, with no differences between groups. Likewise the
             groups did not differ on nonsexual recidivism rates.

           • In a subsequent South Carolina study in 2009, we examined the adult
             sexual and non-sexual recidivism rates of all male youth with sexual
             crime adjudications in between 1991 and 2004 (sample size = 1,275),



5
  Adkins, G., Huff, D., & Stageberg, P. (2000). The Iowa sex offender registry and recidivism.
Des Moines: Iowa Department of Human Rights.
6
  Tewksbury, R., & Jennings, W. G. (2010). Assessing the impact of sex offender registration
and community notification on sex-offending trajectories. Criminal and Behavior, 37, 570-582.
7
  Zevitz, R. G. (2006). Sex offender community notification: Its role in recidivism and offender
reintegration. Criminal Justice Studies, 19(2), 193-208.
8
  Letourneau and Armstrong, Recidivism Rates for Registered And Nonregistered Juvenile
Sexual Offenders, 20 Sexual Abuse: A Journal of Research and Treatment, 393-408 (2008).

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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.404 Filed 02/02/22 Page 7 of 55




               across an average 9-year follow-up period 9. Results indicated that
               being registered increased the risk of being charged but not convicted
               of new offenses. This interesting pattern of findings suggests that
               adults viewed registered ex-offenders as more dangerous than
               nonregistered ex-offenders and were more likely to report them for
               behaviors that ultimately were not deemed criminal. We interpreted
               this pattern of results as indicating that registration exerts a surveil-
               lance or “scarlet letter” effect, subjecting registered people to greater
               scrutiny even when their behavior is fundamentally the same as
               nonregistered people. Moreover, in a separate study (2010) informed
               by 3,148 sex crime cases from South Carolina, we found that regis-
               tration of people adjudicated as minors was not associated with
               deterrence of first-time sex crimes 10.

           • In 2017 and 2018, we reported on two studies informed by 77,245 sex
             crime cases from Idaho, Oregon, Maryland, South Carolina, Utah, and
             Virginia. Results indicated registration laws in these six states failed
             to reduce first-time sex crimes among minors 11,12.

           • In 2008, researchers examined the impact of registry laws enacted in
             10 states on the rates of reported rapes 13. Reports did not distinguish
             between predominant first-time sex crimes versus rarer recidivism
             events. Results indicated that after the laws were enacted, reported
             rapes increased in five states and decreased in five states.

           • An evaluation (2008) of New York’s registration and notification law
             looked at data from 68,617 sex offenders across a 21-year time period.
9
  Letourneau, E. J., Bandyopadhyay, D., Sinha, D., & Armstrong, K. S. (2009b). The influence
of sex offender registration on juvenile sexual recidivism. Criminal Justice Policy Review, 20,
136-153.
10
   Letourneau, Bandyopadhyay, Armstrong & Sinha, Do Sex Offender Registration and
Notification Requirements Deter Juvenile Sex Crimes? 37 Criminal Justice and Behavior, 553-
569 (2010).
11
   Sandler, Letourneau, Vandiver, Shields & Chaffin, Juvenile Sexual Crime Reporting Rates are
not Influenced by Juvenile Sex Offender Registration Policies. 23 Psychology, Public Policy and
the Law, 131 (2017).
12
   Letourneau, Shields, Nair, Kahn, Sandler & Vandiver, Juvenile Registration and Notification
Policies Fail to Prevent First-time Sexual Offenses: An Extension of Findings to Two New
States, 30 Criminal Justice Policy Review 7 (2018).
13
   Vasquez, B. E., Maddan, S., & Walker, J. T. (2008). The influence of sex offender registration
and notification laws in the United States. Crime and Delinquency, 54(2), 175-192.

                                                6
Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.405 Filed 02/02/22 Page 8 of 55




               Results indicated that the law had no effect on sexual re-offense
               rates 14. This study and others highlighted the fact that about 95% of
               all sex offenses were committed by first-time offenders who would
               not have been found on registries.

           • An evaluation (2008) of Minnesota’s registration policy, informed by
             435 cases, compared that state’s highest risk offenders to lower risk
             offenders and to offenders released pre-policy. The investigators
             found lower recidivism among the high risk offenders subjected to
             registration, relative to what was predicted based on their risk scores.
             Notably, the high risk offenders subjected to broad notification were
             also subjected to intensive supervised release conditions, which the
             authors note likely influenced their findings 15.

           • In Wisconsin in 2009, a study examined adult sexual and nonsexual
             recidivism rates of 172 people adjudicated for sex crimes as minors 16.
             These investigators reported no statistically significant differences
             between groups across a 4-year follow-up period. Moreover, these
             investigators found in another study of 265 people adjudicated of sex
             crimes as minors that the federal tier designations failed to accurately
             distinguish between those few people who re-offended versus the
             majority who did not 17. In fact, a comparison group of people whose
             initial offense was for a nonsexual violent crime were just as likely to
             commit a future sexual offense as those whose initial offense was
             sexual in nature.

           • In Pennsylvania in 2011, another study examined the adult sexual and
             nonsexual recidivism rates of 108 people adjudicated as minors for

14
   Sandler, J. C., Freeman, N. J., & Socia, K. M. (2008). Does a watched pot boil? A time-series
analysis of New York State's sex offender registration and notification law. Psychology, Public
Policy and Law, 14(4), 284-302.
15
   Duwe, G., & Donnay, W. (2008). The impact of Megan's Law on sex offender recidivism: The
Minnesota experience. Criminology, 46(2), 411-446.
15
   Barnoski, R. (2005). Sex offender sentencing in Washington state: Did community notification
influence recidivism? Olympia: Washington State Institute for Public Policy.
16
   Caldwell, M. F., & Dickenson, C. (2009). Sex offense registration and recidivism risk in
juvenile sexual offenders. Behavioral Sciences and the Law, 27, 941-956.
17
   Caldwell, M. F., Ziemke, M. H., & Vitacco, M. J. (2008). An examination of the sex offender
registration and notification act as applied to juveniles. Psychology, Public Policy, and Law, 14,
89-114.

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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.406 Filed 02/02/22 Page 9 of 55




               sex crimes 18. The sexual re-offense rate was less than 2% across a 2-
               year follow-up with no differences between registered and
               nonregistered ex offenders. Moreover, these researchers found that ex
               offenders who met federal Tier III (highest supervision level)
               classification criteria were no more likely to re-offend than those who
               met lower tier classification criteria.

           • Research published in 2009 using New Jersey data on approximately
             8,000 offenders examined whether sex crime rates, including
             predominately first-time sex crimes as well as sex crime recidivism
             events, changed after implementation of Megan’s Law in 1994 19.
             Trend analysis indicated generally declining rates of sex crimes
             between 1986 and 2005, a well-documented finding replicated across
             the US and several other countries. Against this background of
             generally declining rates, the authors did detect an even steeper
             decline in sex crimes during and after implementation of the law in
             1994. This rate may have been powered by reductions in first-time sex
             crimes, not recidivism events. In a follow-up study in 2012 that
             focused specifically on sex crime recidivism (and not first-time
             offenses), they found that registration had no effect on sexual or
             violent re-offense rates for the entire sample, nor for a sample of
             offenders identified as higher risk to re-offend 20.

           • In 2010, my colleagues and I evaluated South Carolina’s law using
             data on 6,064 male offenders convicted of at least one sex crime
             between 1990 and 2004 21. Registration had no effect on re-offense
             rates. As with the program of research from New Jersey, our work in
             South Carolina also indicated a small but significant deterrent effect

18
   Batastini, A. B., Hunt, E., Present-Koller, J., & DeMatteo, D. (2011). Federal standards for
community registration of juvenile sex offenders: An evalution of risk prediction and future
impications. Psychology, Public Policy, and Law, 17, 451-474.
19
   Veysey, B. M., Zgoba, K., & Dalessandro, M. (2008). A preliminary step towards evaluating
the impact of Megan’s Law: A trend analysis of sexual offenses in New Jersey from Justice 1985
to 2005. Justice Research and Policy, 10, 1-18.
20
   Tewksbury, R., Jennings, W. G., & Zgoba, K. M. (2012). A longitudinal examination of sex
offender recidivism prior to and following the implementation of SORN. Behavioral Sciences
and the law, 30, 308-328.
21
   Letourneau, E. J., Levenson, J. S., Bandyopadhyay, D., Sinha, D., & Armstrong, K. S. (2010).
Effects of South Carolina’s sex offender registration and notification policy on adult recidivism.
Criminal Justice Policy Review, 21, 435-458.

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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.407 Filed 02/02/22 Page 10 of 55




               on first-time sex crimes following implementation of registration in
               1995 22.

           • In a 2011 study, Prescott and Rockoff examined sex crime data from
             15 states. The cases could not be distinguished between predominant
             first-time sex crimes versus rarer recidivism events. The authors
             attributed an increase in recidivism to an effect of community notifi-
             cation of registrants and a decrease in first-time sex crimes by non-
             registrants to an effect of registration 23.

           • In a 2011 study informed by sex crime data from more than 9,500
             cases from 14 states (CA, DE. FL, IL, MD, MI, MN, NJ, NY, NC,
             OH, OR, TX, VA), a researcher examined recidivism rates between
             people in states with or without registration laws as of 1994 24. Results
             suggested that registered ex-offenders were significantly more likely
             to be rearrested for a subsequent sex crime than non-registered ex-
             offenders. This same researcher also examined policy impact on rates
             of sex crimes in general (i.e., including predominantly first-time sex
             crimes as well as a smaller number of recidivism events) and found a
             limited reduction in sex crimes, as well as an increase in violent crime
             rates, possibly as a result of plea bargains.

           • In New York in 2012, a researcher examined the impact of the
             community notification aspect of registration on sexual and nonsexual
             recidivism events 25. Analyses were informed by more than 17,000 sex
             crime cases. Results indicated that notification was associated with
             significantly higher rates of sexual and nonsexual recidivism. This
             researcher and her colleague also found that the federal Adam Walsh
             Act (SORNA) tier levels were inversely correlated with sexual re-



22
   Letourneau, E. J., Levenson, J. S., Bandyopadhyay, D., Armstrong, K. S., & Sinha, D. (2010).
Effects of South Carolina’s sex offender registration and notification policy on deterrence of
adult sex crimes. Criminal Justice Review, 35, 295-317.
23
   Prescott, J. J. & Rockoff, J. E. (2011). Do sex offender registration and notification laws affect
criminal behavior? Journal of Law and Economics, 54(1), 161-206.
24
   Agan, A. Y. (2011). Sex offender registries: Fear without function? Journal of Law and
Economics, 54, 207-239.
25
   Freeman, N. J. (2012). The public safety impact of community notification laws: Rearrest of
convicted sex offenders. Crime & Delinquency, 58, 539-564.

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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.408 Filed 02/02/22 Page 11 of 55




              offending in New York 26. That is, people identified as higher
              tier/higher risk actually re-offended at lower rates than people
              identified as lower tier/lower risk.

           • In 2016, my colleagues and I evaluated the effect of federal Adam
             Walsh Act (SORNA) “tier levels” using data on 1,789 adult sex
             offenders from Florida, Minnesota, New Jersey, and South Carolina 27.
             The SORNA tier was unrelated to sexual re-offending, except in
             Florida, where it was inversely correlated with re-offending. That is,
             men identified as higher tier/higher risk were less likely to re-offend
             than men identified as lower tier/lower risk.

     8. In summary, there are at least 21 studies that examined the impact of
        registration and notification policies across the U.S. Of these studies, 14
        focused on sex crime recidivism and were able to clearly distinguish
        between recidivism events versus first-time sex crime events. Twelve of
        these 14 studies, informed by more than 100,000 cases from 19 states
        representing each of the principle US geographic regions (CA, DE, FL, IL,
        IA, MD, MI, MN, NJ, NY, NC, OH, OR, PA, SC, TX, VA, WA, WI) failed to
        find that these laws increase community safety by reducing sexual crime.
        Specifically, 10 found no policy impact on recidivism while 2 studies
        (informed by 21,500 cases from 14 states) found increased sex crime
        recidivism rates following policy implementation. Just 2 of the 14 studies
        found support for reduced recidivism. These two studies were based on
        8,794 cases from just two states (MN, WA). One of these studies was never
        published in the peer review literature and failed to account for well-known
        declines in violent crime rates (Barnoski, 2005); one focused on a small
        sample of high risk registrants who were also subjected to intensive super-
        vision (Duwe & Donnay, 2009); both of these studies were conducted in
        states that used sophisticated classification systems to assign sex offenders
        to specific registration tiers concordant with the empirical risk.

     9. The remaining seven studies were informed either solely or predominantly
        by first-time sex crime cases. Of these, three found no policy impact on

26
   Freeman, N. J., & Sandler, J. C. (2010). The Adam Walsh Act: A false sense of security or an
effective public policy intervention? Criminal Justice Policy Review, 21, 31-49.
27
   Zgoba, K. M., Miner, M., Levenson, J., Knight, R., Letourneau, E., & Thornton, D. (2016).
The Adam Walsh Act: An examination of sex offender risk classification systems. Sexual Abuse:
A Journal of Research and Treatment, 28, 722-740.

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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.409 Filed 02/02/22 Page 12 of 55




        general deterrence, three found some evidence of an impact on first-time sex
        crimes, and one found mixed results. The study with mixed results (Vasquez
        et al., 2008) found that, following implementation of registration laws,
        reported rapes increased in five states and decreased in five states. Two
        studies using national data from 15 states reported declines in first-time sex
        crimes but subsequently concluded that registration does not improve
        community safety (Agan, 2011; Prescott & Rockoff, 2011).

     10. It is further worth noting that without exception the entire published
        literature focusing on juvenile registration and notification fails to find
        any public safety effect of these policies. This research includes empiri-
        cally and methodologically rigorous evaluations of the federal Adam Walsh
        Act tiering system and the registration and notification policies of eight
        states; it comprises tens of thousands of juvenile sex crime cases. Despite
        variation between federal and state policies and despite examining policy
        effects on three different outcome effects (sex crime reports, charges,
        convictions), results were completely consistent across studies: juvenile sex
        offender registration and notification are failed policies that do nothing to
        improve public safety. Indeed, the sex crime recidivism rate of children
        adjudicated delinquent of sex crimes as minors is less than 3%, nearly all of
        which occurs within the first 2-3 years post-release. 28 There is no method
        (including federal tiering) that has ever been shown to accurately identify the
        few youth who will go on to reoffend sexually from the vast majority who
        will not. 29 Moreover, my research and that of others demonstrates substantial
        harm to children placed on registries and this harm extends at least through
        young adulthood. For example, we found that relative to children with sex
        crime adjudications who were not registered, those who were registered
        were four times more likely to have attempted suicide in the past 30 days,
        five times as likely to have been approached by an adult for sex in the past
        year, and twice as likely to have sustained a contact sexual assault victim-
        ization in the past year. 30 The Revised Model Penal Code recommends the


28
   Caldwell, M. F. (2016). Quantifying the decline in juvenile sexual recidivism
rates. Psychology, Public Policy and Law, 22, 414–426.
29
   Caldwell, M.F. & Caldwell, B. M. (2022). The age of redemption for adolescents
who were adjudicated for sexual misconduct. Psychology, Public Policy, and Law
(In Press).
30
   Letourneau, E. J., Harris, A. J., Shields, R. T., Walfield, S. M., Ruzicka, A. E.,
Buckman, C., Kahn, G. D., & Nair, R. (in press). Effects of juvenile sex offender

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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.410 Filed 02/02/22 Page 13 of 55




        abolishment of juvenile registration, noting “[t]he research is replete with
        heartbreaking stories of the unnecessarily cruel, life-destroying impact of
        placing individuals on a sex-offender registry for offenses committed as
        minors.” Id. at 569.

  11. Given the bulk of the evidence, registration and notification laws – and
      especially laws based largely on conviction offense versus validly esti-
      mated recidivism risk – simply do not reduce sexual (or nonsexual)
      recidivism. If registration and notification laws have any beneficial impact
      in reducing recidivism (and I believe this to be exceedingly unlikely based
      on the evidence), that impact is limited to states where registration laws are
      based on empirically validated risk assessment instruments, and not to states
      like Michigan, where registration is assigned based on the offense of convic-
      tion, which does not correlate with risk. There is no reason to believe – even
      remotely – that registration and notification laws will have any beneficial
      impact when applied to children.

   II. WHY SORNA-BASED LAWS FAIL TO REDUCE RECIDIVISM

        A. Most people who commit a sexual offense are never convicted of a
           subsequent sexual offense

  12. Sex offender registration and notification (SORN) policies fail, in part,
      because they are based on the common misunderstanding that most people
      who commit one sexual offense are at high risk to commit a second sexual
      offense. In fact, nearly all methodologically rigorous research studies find
      that 80% to 90% of adult male sex offenders are never reconvicted of a new
      sexual crime.

           a. In one study, we tracked the recidivism rates for the entire population
              of formerly incarcerated adult male sex offenders in South Carolina
              from 1990-2004 31. Across a nearly 9-year follow-up period, 5% of
              this sample was reconvicted for new sex crime charges. This low rate
              of sexual recidivism was consistent with findings published by the



registration on adolescent well-being: An empirical examination. Psychology,
Public Policy, and Law, 24, 105-117.
   31
     Letourneau, E. J., Levenson, J. S., Bandyopadhyay, D., Sinha, D., & Armstrong, K. S.
   (2010). Effects of South Carolina’s sex offender registration and notification policy on adult
   recidivism. Criminal Justice Policy Review, 21, 435-458.

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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.411 Filed 02/02/22 Page 14 of 55




              state’s own statistical analysis center, indicating a 2% sexual recidiv-
              ism rate across a 3-year follow-up. These results are also consistent
              with the federal Bureau of Justice Statistics’ research documenting an
              approximately 3% recidivism rate for formerly incarcerated sex offen-
              ders across a 3-year follow-up period.

          b. In this same South Carolina study, we found that registration had no
             effect on re-offense rates; that is, registration failed to reduce the
             recidivism rate and protect the public.

          c. More recently, we evaluated the recidivism rates of more than 7,000
             men with sex crime convictions across a 25-year follow-up period 32.
             The overall recidivism rate was 18%. That is, 82% of sex offenders
             were never reconvicted of a new sex crime even after 25 years.
             Moreover, for each 6-month period of time spent in the community
             without re-offending, these men became even less likely to re-offend.

          d. Recidivism studies that rely on formal charge-and-conviction data will
             undercount the number of sexual offenses, because not all sexual
             offenses are reported to the authorities. With adequate follow-up
             periods, however, these studies do capture the number of sexual re-
             offenders. Having been caught and convicted once, it is unlikely that a
             known sex offender would evade detection for decades while contin-
             uing to sexually assault children and/or adults. While there are sensa-
             tional examples of known offenders continuing to abuse others, the
             evidence indicates that the vast majority of previously incarcerated
             sex offenders desist from further sex crime, perhaps by learning to
             value a prosocial, law-abiding lifestyle over a law-breaking, harm-
             causing lifestyle.

        B. SORN laws fail to distinguish low-risk and high-risk offenders

  13. SORN policies also fail because they do not accurately delineate the few
      people at higher risk to re-offend sexually from the majority of people at
      lower risk to re-offend sexually. Indeed, several studies including our own
      highlight the inability of federal and state registration schemes to correctly
      classify the small minority of sex offenders who will go on to re-offend. In
   32
     Hanson, R. K., Harris, A. J. R., Letourneau, E. J., Helmus, L. M., & Thornton, D. (2018).
   Reductions in risk based on time offense free in the community: Once a sexual offender, not
   always a sexual offender. Psychology, Public Policy, and Law, 24, 48-63.


                                             13
Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.412 Filed 02/02/22 Page 15 of 55




       some cases, state and federal “tiering” systems are actually backwards –
       with people in the lowest risk tier re-offending significantly faster or more
       often than people in the higher tiers. This is because, as in Michigan, the
       tiers are typically predicated on the conviction offense, which has been
       shown to have no bearing on recidivism risk.

           a. In one study, we tracked the recidivism of about 1,800 formerly
              incarcerated sex offenders from four states (FL, MN, NJ, & SC)
              across an average 10-year follow-up 33. Consistent with hundreds of
              studies, recidivism was rare: 90% of these men had not re-offended
              with a new sex crime at 10-year follow-up. Moreover, results indi-
              cated that offenders meeting federal criteria for classification as “Tier
              3” (most severe/highest risk) offenders were significantly less likely
              to re-offend with a new sex crime than offenders meeting federal
              criteria for “Tier 2” (moderate risk) classification. Because we
              focused on people released from prison, there were too few Tier 1 ex-
              offenders (many of whom would have served shorter sentences in jail
              or been released on probation) to include in analyses.

          b. Likewise, an evaluation of New York State’s registration and notifica-
             tion law and based on more than 17,000 registrant cases, found that
             people categorized at the Tier 1 (lowest risk) level were rearrested for
             sex crimes more quickly and at a higher rate than both Tier 2
             (moderate risk) and Tier 3 (highest risk). 34 The same finding applied
             to nonsexual re-offenses. Other factors that predicted rearrest in this
             study included well-established risk characteristics such as prior
             sexual offenses, number of sentencing dates, and younger (adult) age
             at release.

          c. Well-validated risk assessment tools such as the Static-99R should be
             used in place of conviction offense to identify people at higher risk of
             recidivism and to ensure they receive evidence-based interventions
             that effectively reduce their recidivism risk. (Part III briefly discusses
             evidence-based interventions that actually reduce risk.)


33
   Zgoba, K. M., Miner, M., Levenson, J., Knight, R., Letourneau, E., & Thornton, D. (2016).
The Adam Walsh Act: An examination of sex offender risk classification systems. Sexual Abuse:
A Journal of Research and Treatment, 28, 722-740.
34
   Freeman, N. J., & Sandler, J. C. (2010). The Adam Walsh Act: A false sense of security or an
effective public policy intervention? Criminal Justice Policy Review, 21, 31-49.

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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.413 Filed 02/02/22 Page 16 of 55




         C. SORN Laws have unintended consequences that undermine public
            safety

     14. SORN laws not only fail to improve community safety but have unintended
         consequences that negatively affect public safety. Our research 35 identified
         two deleterious and unintended consequences of sex offender registration
         and notification laws.

            a. First, in a study of nearly 16,000 sex crime cases, we found that South
               Carolina’s registration and notification policy was associated with a
               substantial increase in cases being pled from sexual to nonsexual
               offense charges. The rate of pleaded cases increased by 100% after
               implementation of South Carolina’s registration and notification law,
               and the increase was even more marked for cases with registry-
               eligible sex crime charges for a total 3-fold increase in plea bargains
               to non-sex offense charges. Importantly, our comparison analyses of
               non-sexual violent crime trends found no increase in the likelihood of
               obtaining reduced charges, increasing confidence that this unintended
               consequence is in direct response to registration and notification
               policies.

            b. A similar study of New York State’s registration and notification
               policy did not find an increase in plea bargains. 36 But, New York’s
               policy is more narrowly crafted than South Carolina’s (e.g., SC’s
               policy applies to far more offenses, including misdemeanors, and
               requires lifetime public registration for all registrants; under NY’s
               policy only registrants categorized as highest risk are required to
               register for life). Thus, there may be less incentive to plea bargain
               under NY’s less onerous law, particularly for defendants who will be
               categorized as low or moderate risk.

            c. Second, in our South Carolina study, we identified a particularly
               disturbing finding: cases that were not pled down to nonsexual offense
               charges and that instead moved forward as sex crimes were
               significantly less likely to result in guilty dispositions following
35
   Letourneau, E. J., Levenson, J. S., Bandyopadhyay, D., Armstrong, K., S., & Sinha, D.,
(2010). The effects of sex offender registration and notification on judicial decisions. Criminal
Justice Review, 35, 295-317.
36
   Freeman, N. J., Sandler, J. C., & Socia, K. M. (2009). A time-series analysis on the impact of
sex offender registration and community notification on plea bargaining rates. Criminal Justice
Studies, 22, 153-165.

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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.414 Filed 02/02/22 Page 17 of 55




               implementation of online notification. We believe this remarkable
               finding resulted from increased effort on the part of defendants to
               avoid the consequences of registration and notification (even defen-
               dants unwilling to plead to non-sex crime charges) and decreased
               willingness on the part of judges and juries to subject defendants to
               South Carolina’s online notification scheme. (We were told of one
               case where the jury foreman asked whether a defendant, if convicted,
               would face South Carolina’s registration and notification consequen-
               ces. When the judge affirmed this to be true, the jury returned a “not
               guilty” verdict.) As we noted, a reduction in findings of guilt “could
               contribute to reduced community safety, by precluding punishment,
               treatment, and supervision for some guilty individuals who avoid
               sanctions altogether.” (Id., p. 312.)

     15. SORN laws not only fail to improve community safety but also have strong
         unintended consequences on factors associated with successful reintegration
         into society (which in turn reduce recidivism). Research by the National
         Institute of Justice on serious and violent offender reentry finds that stable
         housing, employment, and prosocial relationships are the three most impor-
         tant factors contributing to successful re-entry and maintenance of a law-
         abiding lifestyle. Numerous studies find that people subjected to registration
         and notification requirements have difficulty finding and maintaining stable
         housing, employment, and prosocial relationships. 37 That is, registration and
         notification create barriers to the factors most important to successfully
         establishing and maintaining a law-abiding life.

     16. Additional research has identified deleterious mental health impacts of regis-
         tration and notification.

            a. We examined young adults ages 18 to 21 years who were (N=38) or
               were not (N=48) required to register following adjudication or convic-
               tion of sex crimes. Registered young adults were far more likely to
               report having attempted suicide in the past 30 days (22% vs. 6%) and
               reported more hopelessness and less perceived social support from




37
  Levenson, J. S., Grady, M. D., & Leibowitz, G. (2016). Grand challenges: Social justice and
the need for evidence-based sex offender registry reform. Journal of Sociology and Social
Welfare, 43, 3-38.

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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.415 Filed 02/02/22 Page 18 of 55




               friends and family members relative to nonregistered young adults. 38
               In this same study, we found that young adults who were registered
               had fewer experiences of overt violence directed against them, likely
               because their hopelessness and perceived lack of support caused them
               to self-isolate more than their non-registered peers.

            b. Similarly, other studies that surveyed registrants found high rates of
               depression, loneliness, and isolation from society as well as high rates
               of fears for personal safety. 39 A review of eight publications found
               that 40% to 60% of registrants identified “negative psychological
               consequences such as loss of friends, feeling lonely and isolated,
               embarrassment, and loss of hope”. 40 These consequences may seem
               both well-deserved for people convicted of sexual crimes and
               relatively trivial. But accrual of “social capital” (as evidenced by
               stable employment and housing, social connectedness, and mental
               well-being) is associated with desistance from crime by sexual and
               nonsexual offenders. 41,42

         D. The cost of implementing and maintaining SORN laws is far higher
            than any savings (or other benefits) generated by such laws

     17. SORN laws fail to improve community safety and are remarkably costly.
         Cost effectiveness of crime policies is achieved when the expenditures
         required to implement and maintain a policy are exceeded by costs averted
         due to reduced criminal offending and victimization. As already noted,
         nearly all evaluations of federal and state sex offender registration and
         notification laws fail to find any public or community safety benefit. In the
         absence of consistent or even occasional reduction in recidivism, these
         policies cannot be cost effective. Rather, they only lose money, without

38
   Shields, R. T., Nair, R., Ruzicka, A., Walfield, S. M., Harris, A. J., Thorne, J. r., &
Letourneau, E. J. (2021). Collateral consequences of sex offender registration and notification:
Results from a survey of emerging adults. Manuscript in preparation.
39
   Levenson, J. S., D’Amora, D. A., & Hern, A. L. (2007). Megan’s law and its impact on
community re-entry for sex offenders. Behavioral Sciences & the Law, 25, 587-602.
40
   Lasher, M. P., & McGrath, R. J. (2012). The impact of community notification on sex offender
reintegration: A quantitative review of the research literature. International Journal of Offender
Therapy and Comparative Criminology, 56, 6-28.
41
   Kruttschnitt, C., Ugggen, C., & Shelton, K. (2000). Predictors of desistance among sex
offenders: The interaction of formal and informal social controls. Justice Quarterly, 17, 61-87.
42
   Fox, K. J. (2016). Civic commitment: Promoting desistance through community integration.
Punishment & Society, 18, 68-94.

                                               17
Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.416 Filed 02/02/22 Page 19 of 55




         recouping funds via reduced costs associated with averted crimes. Policies
         associated with increased offending actually waste more money than the
         state invests in the program, via increased costs associated with increased
         offending.

     18. In the wake of the 2006 Adam Walsh Child Safety and Protection Act
         (SORNA), which required states and other jurisdictions to vastly expand
         registration and notification requirements or face a financial penalty, several
         state and local offices estimated the cost of such compliance. Although the
         many reporting offices included different and often idiosyncratic cost cate-
         gories, the projected amounts were consistently high and far exceeded the
         potential lost revenue (of ten percent of Byrne Grant funds – the penalty
         imposed by the federal government for states that failed to implement
         SORNA). Indeed, 15 years later, only 18 states have been certified as
         SORNA-compliant. The findings are highlighted below:

            a. Austin, TX. In a 2009 report, the Austin Police Department estimated
               that complying with the Adam Walsh Act would result in a 137%
               increase to its budget 43. Specifically, it estimated increased staffing
               costs to address the increase in number of in-person registrations
               required by the Act. The estimate did not include costs associated with
               a predicted increase in number of people required to register, even
               though the Act expanded registration requirements to offenders who
               were not at that time subject to registration.

            b. California. In a 2008 report, California estimated the local costs to
               implement SORNA approached $102 million 44. Specific costs
               pertained to increased personnel to Probation, Police Chiefs/Sheriffs,
               DOJ/Attorney General, as well as increased equipment costs (e.g., for
               Livescan machines and to modify registry software). Anticipated costs
               that remained “unknown” pertained to court personnel, increased liti-
               gation, increased incarceration costs (due to SORNA-related manda-
               tory minimum sentences for registry violations), increased enforce-
               ment costs, increased incarceration costs, and increased parole costs.



43
   Austin Police Department, Sex Offender Apprehension and Registration Unit. (1/05/09). Cost
of compliance: Adam Walsh Child Protection and Safety Act 2006. 42 U.S.S. § 16901-931. Title
1: Sex Offender Registration and Notification Act (SORNA).
44
   Local costs to implement SORNA. CA State SORNA cost chart 9-4-08 – in PDF.

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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.417 Filed 02/02/22 Page 20 of 55




           c. Florida. In a 2008 report, the Florida Committee on Criminal
              Justice 45 issued a brief to The Florida Senate estimating that the likely
              costs of complying with SORNA would exceed $3.2 million. Specific
              costs pertained primarily to additional staffing and programming
              noted in the House and Senate bills. The impact on local law
              enforcement agencies was not estimated.

           d. New Jersey. An evaluation of New Jersey’s registration and notifica-
              tion law found it had no effect on sexual offending and cost that state
              more than $555,000 to launch and about $4,000,000 46 each year to
              maintain since 2007. Costs reflected increased staffing (78 employees
              were dedicated to the registry state-wide), maintaining the internet
              registry, surveillance, equipment and supplies, and other costs.

           e. Oregon. In 2008, Oregon (whose legislature budgets for a two-year
              fiscal year) estimated a total cost of increased annual registration due
              to SORNA for FY 2009-2011 that approached $850,000 47. Specific
              costs included increased field staff, LaserFiche (required by SORNA),
              and digital cameras. Costs did not include an estimated 10 State Police
              “additional staff positions necessary to complete field registration or
              Registry staff to process increased number of registrants”.

           f. Vermont. In a 2008 report by the VT Joint Fiscal Office 48, the state
              indicated that the likely costs of complying with SORNA would
              approach $3.9 million in Year 1 of implementation. Specific costs
              pertained to personnel in the Departments of Public Safety and
              Corrections, and the Offices of the Defender General and the State’s
              Attorney. No costs were estimated for the Judiciary, however, the
              Judiciary noted that courts would spend more time on sex crime cases
              and experience an increase in sex crime caseloads, which would “slow
              down the processing of cases”.

           g. The Justice Policy Institute estimated the first-year costs for imple-
              menting SORNA for each state. Amounts ranged from $850,000

45
   Committee on Criminal Justice, October 2008. Fiscal, policy, and legal considerations
regarding state compliance with the Adam Walsh Act. Issue Brief 2009-312, The Florida Senate.
46
   Zgoba, K., Witt, P., Dalessandro, M., & Veysey, B. (2008). Megan’s Law: Assessing the
Practical and Monetary Efficacy. NCJ 225370.
47
   Oregon 2009 Cost Projections for AWA Implementation. Updated 9/30/2008.
48
   Joint Fiscal Office – October 16, 2008. Costs associated with Vermont complying with the Sex
Offender Registration Act (SORNA) and Jessica’s Law.

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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.418 Filed 02/02/22 Page 21 of 55




               (WY) to $59,000,000 (CA) 49. In every case, the costs dwarfed what
               would be lost by the federal penalty – the ten percent reduction in the
               federal Byrne Grant funding program (for state prosecutor’s offices
               and local law enforcement).

            h. The U.S. Government Accounting Office stated that “One jurisdiction
               reported that implementing SORNA would require an investment of
               an estimated $23.8 million to provide scanners to digitize registry
               information as well as purchase sex offender registration software for
               each local jurisdiction. Officials from this jurisdiction also said that
               ongoing budgetary constraints negatively affected their ability to
               implement SORNA requirements.” 50

            i. Also related to costs, studies identify a negative impact of sex offen-
               der registration on home sales – a “disamentity” cost. 51 Briefly, home
               sellers can expect to lose 5% on their closing price if a registered sex
               offender resides in the neighborhood.

            j. The most thorough accounting of registration and notification costs to
               date focused on juvenile registration. Published by the libertarian-
               leaning R Street group in 2015, the results suggest that the costs and
               net losses (like the housing disamenity cost) could run to billions of
               dollars annually 52.

        E. SORN laws place great emphasis on compliance enforcement, but
           failure-to-register (FTR) and other compliance violations do not
           correlate with higher rates of sexual re-offending

     19. As noted in the previous section, several cost estimates (e.g., California,
         Vermont) anticipated higher costs related to increased litigation as people
         fight to avoid the harsher registration requirements imposed by SORNA and

49
   Justice Policy Institute (not dated). What will it cost states to comply with the Sex Offender
Registration and Notification Act? http://www.justicepolicy.org/images/upload/08-
08_fac_sornacosts_jj.pdf.
50
   U.S. Government Accountability Office (February, 2013). Sex Offender Registration and
Notification Act: Jurisdictions face challenges to implementing the Act, and stakeholders report
positive and negative effects (see Table 2, p. 19).
51
   Pope, J. C. (2008). Fear of crime and housing process: Household reactions to sex offender
registries. Journal of Urban Economics, 64, 601-614.
52
   Belzer, R. B. (September, 2015). The costs and benefits of subjecting juveniles to sex-offender
registration and notification. R Street Policy Study No. 41.

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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.419 Filed 02/02/22 Page 22 of 55




         increased incarceration due to the tougher penalties for registry violations.
         Under SORNA, so-called failure-to-register (FTR) violations were upgraded
         to felony-level offenses with a mandatory 1-year minimum term of impris-
         onment. (Under previous laws, initial FTR violations were typically treated
         as misdemeanors.)

     20. The apparent logic behind this increased penalty was that people who fail to
         register do so willingly in order to plan or commit new sex crimes (whether
         against children or anyone else). While an early study of FTR violations and
         recidivism (2006) reported a difference in the sexual recidivism rate of FTR
         violators (4.3%) and non-violators (2.8%), the study failed to report whether
         this difference was statistically significant. Moreover, as the number of FTR
         violations increased, sexual recidivism decreased, whereas non-sexual
         recidivism increased 53. Thus, FTR and similar compliance violations may
         signal general criminality and rules violations rather than sexually deviant
         intent (or may just signal that as these laws get more complex and more
         onerous, people have a harder time obeying them).

     21. Indeed, more recent studies, including one of mine, have revealed that there
         is no correlation between FTR violations and sexual recidivism. 54 Our 2009
         study found that:

         (a) sex offenders with and without FTR violations had statistically
            equivalent sexual recidivism rates;

         (b) FTR violations did not predict sexual recidivism; and

         (c) sexual recidivism did not predict FTR violations.

         This study did find relationships between FTR violations and younger age at
         initial registration, presence of prior general (non-sexual) offenses, and
         general (non-sexual) recidivism. Our conclusion was that “registration




53
   Washington State Institute for Public Policy (2006). Sex offender sentencing in Washington
State: Failure to register as a sex offender – revised. Olympia, WA: Washington State Institute of
Public Policy.
54
   Levenson, J., Letourneau, E., Armstrong, K., & Zgoba, K. M. (2009). Failure to register as a
sex offender: Is it associated with recidivism? Justice Quarterly, 27, 305-331.

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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.420 Filed 02/02/22 Page 23 of 55




         noncompliance is more a reflection of general criminality, defiance, care-
         lessness, or apathy, than of sexually devious intentions.” (Id., p. 324.)
         Similar findings were reported based on Minnesota data. 55

     III. RECIDIVISM RISK CAN BE LOWERED BY LAWS THAT ADDRESS THE
          FACTORS THAT INCREASE RISK

     22. We do not have to rely on failed policies to address the risk of recidivism.
         There are effective means to improve community safety by reducing the
         likelihood of sexual and non-sexual re-offending: re-entry support services
         and evidence-based therapy, targeted at people with higher risk factors.

            a. A strong body of research informed by empirically rigorous methods,
               including randomized controlled trials, support the effectiveness of re-
               entry supports for ex-offenders returning to their communities after
               release from prison or other secure confinement for sex crimes.
               Circles of Support and Accountability (CoSA) was founded in
               Ontario, Canada, in 1994. CoSA has since expanded to dozens of sites
               across Canada, the US, the UK, the EU and elsewhere. CoSA is
               designed to address two areas that are critical to successful re-entry:
               accountability and prosocial support. The CoSA model pairs a
               released offender with 4-6 community volunteers. Volunteers are
               trained and meet regularly to address risk and reintegration issues,
               including finding and maintaining housing, employment, and pro-
               social relationships. They also monitor the released offender for
               concerning, inappropriate, or illegal behavior. Professionals, including
               parole officers, social service workers, and mental health providers
               are available for expert consultation, such as when volunteers identify
               parole violations, indications of increased risk to re-offend, or mental
               health problems. Results from evaluation studies indicate that CoSA
               reduces sexual recidivism by about 70% and violent recidivism by
               more than 50%, relative to control and comparison groups and relative
               to recidivism predicted by statistical projects based on validated risk




55
  Duwe, G., & Donnay, W. (2010). The effects of failure to register on sex offender recidivism.
Criminal Justice and Behavior, 37, 520-536.

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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.421 Filed 02/02/22 Page 24 of 55




              assessments. 56,57 More recent studies have established the cost effect-
              iveness (in addition to clinical effectiveness) of CoSA. 58 For example,
              a US-based 59 randomized controlled trial found an 88% reduction in
              sexual recidivism and 49%-57% reductions in general recidivism for
              sex offenders randomized to the CoSA versus control condition and
              reported a cost-benefit of approximately $41,000 per CoSA partici-
              pant due to averted crimes.

           b. Meta-analyses, which combine data from numerous studies, some-
              times find that evidence-based treatment for people with sex crime
              convictions is associated with significant declines in sexual recidivism
              and sometimes fail to find a treatment effect 60. More careful evalua-
              tion does support a treatment effect. Effective treatment of offenders
              convicted of sex- or non-sex crimes alike rests on the principles of
              risk, need, and responsivity (RNR). Briefly, the RNR principles stipu-
              late that treatment will be effective when (1) focused on released
              offenders who are at moderate or higher risk to re-offend (versus
              lower risk); (2) addressed to the needs (characteristics) of offenders
              and their environments that are related to re-offending (e.g., attitudes
              and beliefs that minimize offenders’ culpability for harm); and (3)
              delivered in a manner that aligns with the released offender’s learning
              style and abilities. A meta-analysis, which combined data from 22
              treatment evaluation studies involving more than 6,700 cases found
              that treated offenders had a statistically significant lower sexual
              recidivism rate of approximately 11%, compared to 19% for untreated
              offenders. The treatment effect was even more pronounced for
              interventions that targeted criminogenic factors (the need principle)
              and were delivered in a way that increased offender engagement

56
   Wilson, R., Cortoni, F., & McWhinnie, A. J. (2009). Circles of Support and Accountability: A
Canadian National Replication of Outcome Findings. Sexual Abuse (21), 412-430.
57
   Wilson, R.J., McWhinnie, A.J., & Wilson, C. (2008). Circles of Support & Accountability: An
international partnership in reducing sexual offender recidivism. Prison Service Journal, 138,
26-36.
58
   Elliott, I. A., & Beech, A. R. (2012). A U.K. cost-benefit analysis of Circles of Support and
Accountability interventions. Sexual Abuse, 25, 211-229.
59
   Duwe, G. (2018). Can Circles of Support and Accountability (CoSA) significantly reduce
sexual recidivism? Results from a randomized controlled trial in Minnesota. Journal of
Experimental Criminology, 14, 463-484.
60
   Hanson, R. K., Bourgon, G., Helmus, L., & Hodgson, S. (2009). The principals of effective
correctional treatment also apply to sexual offenders: A meta-analysis. Criminal Justice and
Behavior, 36, 865-891.

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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.422 Filed 02/02/22 Page 25 of 55




             (responsivity principle). Results also supported a “dosage effect”, with
             increasing effectiveness as the number of adhered-to principles
             increased from zero to three.

      Conclusion

  23. Sex offender registration and notification laws have failed to improve
      community safety. Instead, laws like Michigan’s don’t work and are costly.
      They also have unintended effects that may imperil community safety.
      Registries decrease the likelihood of conviction by reducing the willingness
      of juries and judges to subject defendants to registration. Registries also
      increase the likelihood of ex-offenders experiencing joblessness, homeless-
      ness, and disconnection from prosocial friends and family, which in turn
      increase sexual and non-sexual recidivism. More effective case management
      and treatment practices are available to replace these failed sex offender
      registration laws and policies.

Statement of Compensation

I am charging $450.00 an hour for researching and writing this report.

Pursuant to 28 U.S.C. § 1746, I state under penalty of perjury that the above state-
ments are true and correct to the best of my knowledge, information, and belief.



                                       ________________________
                                       Elizabeth J. Letourneau, PhD

                                       Dated: December 17, 2021




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Case 2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.423 Filed 02/02/22 Page 26 of 55




                       Attachment 1:
                 C.V. of Elizabeth Letourneau
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Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.424 Filed 02/02/22 Page 27 1of| P
          J. Letourneau                                                                55a g e



                                          CURRICULUM VITAE

                                 ELIZABETH JANE LETOURNEAU, PhD
PERSONAL DATA
Professor, Department of Mental Health
Director, The Moore Center for the Prevention of Child Sexual Abuse
Johns Hopkins Bloomberg School of Public Health
624 N Broadway/Suite 850
Baltimore, MD 21205-1999
410-955-9913 (office phone); elizabethletourneau@jhu.edu
Twitter: @eletourn
Pronouns: she/her

EDUCATION AND TRAINING
1995    PhD          Clinical Psychology, Northern Illinois University, DeKalb, IL
1993                 Predoctoral Intern, Medical University of South Carolina Psychology Internship Program
1992    MA           Clinical Psychology, Norther Illinois University, DeKalb, IL
1988    BA           Psychology, State University of New York, Buffalo, NY

PROFESSIONAL EXPERIENCE
2016-                Professor, Department of Mental Health, Johns Hopkins Bloomberg School of Public
                     Health, Johns Hopkins University

2012-                Director, Moore Center for the Prevention of Child Sexual Abuse.

2011-2016            Associate Professor, Department of Mental Health, Johns Hopkins Bloomberg School of
                     Public Health, Johns Hopkins University

2011-2016            Adjunct Associate Professor, Department of Psychiatry and Behavioral Sciences,
                     Medical University of South Carolina

2006-2011            Associate Professor, Department of Psychiatry and Behavioral Sciences. Medical
                     University of South Carolina

2000-2006            Assistant Professor, Department of Psychiatry and Behavioral Sciences. Medical
                     University of South Carolina

1997-2000            Research Psychologist, U.S. Air Force and Navy

1998-2000            Adjunct Assistant Professor, Medical University of South Carolina

1996-1997            Assistant Professor, Augusta State University, Department of Psychology, Augusta, GA.

1994-1996            Postdoctoral Fellow, National Crime Victims Research and Treatment Center, Medical
                     University of South Carolina

PROFESSIONAL ACTIVITIES
Society Membership and Leadership
Association for the Treatment of Sexual Abusers
   • Past President: 2015-2016
   • President: 2014 - 2015
   • President Elect: 2013
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       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.425 Filed 02/02/22 Page 28 2of| P
          J. Letourneau                                                                55a g e


   •   Executive Board: 2000-2005
   •   Member: 1992-

South Carolina Association for the Treatment of Sexual Abusers
   • Founding member, 2003
   • President, 2004 – 2006

American Professional Society on the Abuse of Children: 2004-

Participation on Advisory Boards
2021-         Inaugural Member, Eurpeon Union Expert Advisory Committee
2020-         Advisory Committee to the Australian Institute of Criminology Child Sexual Abuse Material
              (CSAM) Offending Prevention Project
2020-         Global Protection Online Network (GPN), hosted by The Marie Collins Foundation
2020-         US DOJ National Strategy for Child Exploitation Prevention and Interdiction
2020-         Technical Expert Group to Advise the World Bank on CSA
2020-21       Prevention Revision Task Force, National Children’s Alliance
2020-         CDC’s CSA in YSOs Partners
2020-         Violence Prevention Policy Network: Supports CDC violence prevention efforts
2019-         Czech Republic National Institute of Mental Health Evolutionary Sexology and Psychopathology
              Paraphile Project: International Advisory Board member, 2019-
2019          ITU UNESCO Broadband Commission for Sustainable Development Working Group on Child
              Safety Online
2019-         End Child Sexual Abuse Advisory Group, Stop It Now!/Lucy Faithful Foundation
2018-2020     National Academy of Sciences Global Forum on Violence Prevention
2019-         Expert panel, Institute of Child Protection Studies, Australian Catholic University
2017-2020     Policy Analysis Committee on Juveniles on Sex Offender Registries, American Professional
              Society on the Abuse of Children (APSAC)
2016-17       World Health Organization Guidelines Development Group for Guidelines for responding to the
              sexual abuse of children and adolescents
2015-20       State Council on Child Abuse and Neglect. Appointed by Governor O’Malley
2014-         Advisory Board, Program in Human Sexuality, University of Minnesota
2012-         National Center on the Sexual Behavior of Youth, Oklahoma University
2013-15       Health Advisory Group, Baltimore City Department of Social Services MATCH Program
2011          Office on Violence Against Women Rapid Response Project. Role: network expert
2007-16       National Advisory Committee, Safer Society Foundation, Inc.
2009-12       Adam Walsh Act Working Group – research advisor
2009-11       Charleston Juvenile Drug Court Advisory Committee

Program/Project Development
Chair, Child Sexual Abuse: A Public Health Perspective Symposium: Annually from 2012-
Chair, Child Sex Trafficking Symposium: 2013, May

EDITORIAL AND OTHER PEER REVIEW ACTIVITIES
Special Issue Editor (with Jane Silovsky and Barbara Bonner) Child Abuse and Neglect, 2019-2020; Issue
       Title: Children with Interpersonal Problematic Sexual Behavior
Special Issue Editor (with Jane Silovsky) Child Maltreatment, 2008; Issue Title: Children with Sexual Behavior
       Problems: Dedicated to William F. Friedrich.
Journal Peer Review Activities (reflects activities from 2015-present)
   Archives of Sexual Behavior
   Child Abuse and Neglect
   Child Maltreatment
   Clinical Child and Family Psychology
   Criminal Justice Policy Review
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       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.426 Filed 02/02/22 Page 29 3of| P
          J. Letourneau                                                                55a g e


   JAMA Pediatrics
   Journal of Clinical Child and Adolescent Psychology
   Journal of Criminology
   Psychology, Public Policy, & Law
   Sexual Abuse

Editorial Board Membership
2016-2019     Editorial Board, Sexual Abuse: A Journal of Research and Treatment
2006-2013     Associate Editor, Sexual Abuse: A Journal of Research and Treatment
2000-2006     Editorial Board, Sexual Abuse: A Journal of Research and Treatment
2010-2018     Consulting Editor, Journal of Consulting and Clinical Psychology
1996-2005     Editorial Board, Child Maltreatment

Book and Book Chapter Reviews
2018        University of California Press
2018        Palgrave Macmillan Review

Ad Hoc Review of Grant Proposals
2018        Oak Foundation: invited review
2018        NIH Loan Repayment Program
2016        NIH Loan Repayment Program
2015        NIH Loan Repayment Program
2015        Behavioral and Social Consequences of HIV/AIDS Study Section; ad hoc member for
            special emphasis panel
2014        Behavioral and Social Consequences of HIV/AIDS Study Section; ad hoc member for
            special emphasis panel
2014        NIMH PA-14-179 Clinical Trial Planning Grant For Interventions and Services to Improve
            Treatment and Prevention of HIV/AIDS
2014        National Science Foundation, Law and Social Sciences Program
2013        NIDA RFA-DA-13-009: Translational Research on Interventions for Adolescents in the Legal
            System: TRIALS (U01)
2013        NIH Loan Repayment Program
2013        National Institute of Justice: Technical Assistance and Support Program: Final Report Reviews
2012        National Institute of Justice: Evaluation and Implementation of the Sex Offender Treatment
            Intervention and Progress (SOTIPS)
2012        National Institute of Justice: Evaluability Assessments of the Circles of Support and
            Accountability Model
2011        NIH Loan Repayment Program
2011        National Institute of Justice: Technical Assistance and Support Program: Final Report Reviews
2011        San José State University: Grants Academy at the Center for Applied Research in Human
            Services
2010        NIH Loan Repayment Program
2009        Centers for Disease Control and Prevention: Sexual Violence Prevention
2009        National Institute of Justice: Community Corrections: Evaluating the Effectiveness of Electronic
            Monitoring of Moderate to High-Risk Offenders under Supervision
2008        Centers for Disease Control and Prevention: Sexual Violence Prevention
2007        NIH B-START Application
2007        Office of Juvenile Justice and Delinquency Prevention: Sex Offender Treatment Program
            Development and Capacity Building

HONORS AND AWARDS
Honors
2020      Nominated to National Center for Injury Prevention and Control Board of Scientific Counselors
          (Pending USDHHS Secretary approval)


                                                      3
       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.427 Filed 02/02/22 Page 30 4of| P
          J. Letourneau                                                                55a g e


2018          Nominated to National Center for Injury Prevention and Control Board of Scientific Counselors
              (US DHHS Secretary did not move on this nomination)
2014-15       Completed JHU Leadership Development Program
2014-15       Completed JHU School of Medicine Leadership Program for Women Faculty
1996          Summer Research Institute Participant, National Data Archive on Child Abuse & Neglect
1992          Significant Achievement Award for Graduate Student Research on Sexual Aggression, ATSA

Awards
2019-20       Excellence in Teaching: Outstanding overall course and instructor ratings for Manuscript
              Writing
2018          Excellence in Teaching: Outstanding overall course and instructor ratings for Childhood
              Victimization
2017          Excellence in Teaching: Outstanding overall course and instructor ratings for Childhood
              Victimization
2016          Inaugural Award for Excellence in U.S. Public Health Practice, Office of Public Health Practice
              and Training, Johns Hopkins Bloomberg School of Public Health
2016          Excellence in Teaching: Outstanding overall course and instructor ratings for Childhood
              Victimization
2015          Excellence in Teaching: Outstanding overall course and instructor ratings for Childhood
              Victimization
2008          APSAC Outstanding Research Article: Letourneau, E. J., Chapman, J., & Schoenwald, S. K.
              (2008). Treatment outcome and future offending by youth with sexual behavior problems. Child
              Maltreatment, 13, 133-144.
2008          ProHumanitate Literary Award. North American Research Center for Child Welfare: Intellectual
              Integrity and Moral Courage. Letourneau, E. J., Chapman, J., & Schoenwald, S. K. (2008).
              Treatment outcome and future offending by youth with sexual behavior problems. Child
              Maltreatment, 13, 133-144.
2007          Pro Humanitate Literary Award (Herbert A. Raskin Child Welfare Article Award): Chaffin, M.,
              Hanson, R., Saunders, B. E., Nichols, T., Barnett, D., Zeanah, C., Berliner, J., Egeland, B.,
              Newman, E., Lyon, E., Letourneau, E., & Miller-Perrin, C. (2006). Report of the ASPAC Task
              Force on Attachment Therapy, Reactive Attachment Disorder, and Attachment Problems. Child
              Maltreatment, 11, 76-89.
2007          APSAC Outstanding Article in Child Maltreatment: Chaffin, M., Hanson, R., Saunders, B. E.,
              Nichols, T., Barnett, D., Zeanah, C., Berliner, J., Egeland, B., Newman, E., Lyon, E.,
              Letourneau, E., & Miller-Perrin, C. (2006). Report of the ASPAC Task Force on Attachment
              Therapy, Reactive Attachment Disorder, and Attachment Problems. Child Maltreatment, 11, 76-
              89.

Named Lectureships
2018        From Hysteria to Hope: Bringing Reason to the Fight Against Child Sexual Abuse. Inaugural
            Mark J. Chaffin Lecture and Luncheon. National Symposium on Sexual Behavior of Youth.

2016          Applying sound policy and practice to youth who commit crimes of a sexual nature. Charles
              Shireman Lecturer. Portland State University.

PUBLICATIONS (* indicates a mentored student or post-doctoral fellow)

Journal Articles (peer review)
   1. Assini-Meytin, L.C., Fix, R., Green, K., Nair, R. & Letourneau, E.J. (2021). Adverse childhood
      experiences, mental health, and risk behaviors in adulthood: Exploring sex, racial, and ethnic group
      differences in a nationally representative sample. Journal of Child & Adolescent Trauma. In Press.
   2. Letourneau, E. J., Roberts, T. M., & Malone, L. (2021). No check we won’t write: A report on the high
      cost of sex offender incarceration. Sexual Abuse. In Press.
   3. McGinty EE, Nair R, Assini-Meytin LC, Stuart EA, Letourneau EJ. (2021). Impact of Medicaid
      expansion on reported incidents of child neglect and physical abuse. American Journal of Preventive
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       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.428 Filed 02/02/22 Page 31 5of| P
          J. Letourneau                                                                55a g e


       Medicine, In Press.
   4. Fix, R. L., Fanniff, A., Kline, J., & Letourneau, E. J. (2021). Disproportionate minority contact: An
       expanded examination of how threat of violent and sexual offending impacts court outcomes. Race and
       Justice, In Press.
   5. Fix, R. L., Busso, D. S., Mendelson, T., & Letourneau, E. J. (2021). Changing the paradigm: Using
       strategic communications to promote recognition of child sexual abuse as a preventable public health
       problem. Child Abuse & Neglect, 117, 105061.
   6. Ruzicka, A. E., Assini-Meytin, L. C., Schaeffer, C. M., Bradshaw, C. P., & Letourneau, E. J. (2021).
       Responsible behavior with younger children: Examining the feasibility of a classroom-based program to
       prevent child sexual abuse perpetration by adolescents. Child Sexual Abuse. In Press.
   7. Assini-Meytin, L.C., Kaufman, K., Mathews, B., Palmer, D., *Ingram, M., & Letourneau, E.J. (2021).
       Preventing and responding to child sexual abuse: Organizational efforts. Child Abuse & Neglect, 112,
       104892.
   8. *Sheerin, K.M., Borduin, C.M., Brown, C.E., & Letourneau, E.J. (2020). An evaluation of mechanisms
       of change in multisystemic therapy with juvenile justice-involved youths a decade following
       treatment. Journal of Marital and Family Therapy, 47, 208-219.
   9. Feder, K. A., Ali, M. M., Sherman, L., Elizabeth J. Letourneau, E. J., Barry, C. L., Stuart, E., & Mutter,
       R. (2020). Elevated Prevalence of Antisocial Behavior in Adolescent Children Whose Mothers use
       Opioids. Drug and Alcohol Dependence, 215, 1-6.
   10. Feder, K. A., Mojtabai, R., Stuart, E. A., Musci, R., & Letourneau, E. J. (2020). Florida’s Opioid
       Crackdown and Drug, Motor Vehicle Crash, and Suicide Mortality: A Bayesian Interrupted Time-Series
       Analysis. American Journal of Epidemiology, 189, 885-893.
   11. Fix, R. L., Thompson, K. R., Letourneau, E. J., & Burkhart, B. R. (2021). Development and
       Psychometric Properties of the Concerns about Juvenile Sex Offender Registration and Notification
       Questionnaire (C-JSORNQ). Sexuality Research and Social Policy, 18, 397-408.
   12. Shields, R. T., Murray, S. M., Ruzicka, A. E., Buckman, C., *Kahn, G., Benelmouffok, A., &
       Letourneau, E. J. (2020). Help Wanted: Lessons on prevention from young adults with a sexual
       interest in prepubescent children. Child Abuse and Neglect, 105, 104416.
   13. Fix, R. L., Assini-Meytin, L. C., Harris, A. J., & Letourneau, E. J. (2020). Caregivers’ perceptions and
       responses to a new norm: The missing link in addressing adolescent sexting behaviors in the United
       States. Archives of Sexual Behavior, 50, 575-588.
   14. Assini-Meytin, L. C, Fix, R. L., & Letourneau, E. J. (2020). Child sexual abuse: The need for a
       perpetration prevention focus. Journal of Child Sexual Abuse. 29(1), 22-40.
   15. Fix, R. L., Letourneau, E. J., *Mauro, P. M., McCart, M. R., & Sheidow, A. J. (2019). Factors Promoting
       and Impeding HIV Testing among Adolescents in Juvenile Drug Court. AIDS Care, 31, 177-180.
   16. *Feder, K. A., *Mauro, P. M., McCart, M. R., Sheidow, A. J., & Letourneau, E. J. (2018). Association
       of mental health symptoms and peer behaviors with risk for substance use and condomless sex among
       youth in juvenile drug court. Journal of Child & Adolescent Substance Abuse, 27, 133-145.
   17. Letourneau, E. J., Brown, D. S., Fang, X., *Hassan, A., & Mercy, J. A. (2018). The economic burden of
       child sexual abuse in the United States. Child Abuse and Neglect, 79, 413-422.
   18. Letourneau, E. J., Shields, R. T., Nair, R., *Kahn, G., Sandler, J. C., & Vandiver, D. M. (2019).
       Juvenile registration and notification policies fail to prevent first-time sexual offenses: An extension of
       findings to two new states. Criminal Justice Policy Review, 30, 1109-1123.
   19. *Feder, K.A., Mojtabai, R., Musci, R.J., & Letourneau, E.J. (2018). US adults with opioid use disorder
       living with children: Treatment use and barriers to care. Journal of Substance Abuse Treatment, 93, 31-
       37.
   20. Hanson, R. K., Harris, A. J. R., Letourneau, E. J., Helmus, L. M., & Thornton, D. (2018). Reductions in
       risk based on time offense free in the community: Once a sexual offender, not always a sexual
       offender. Psychology, Public Policy, and Law, 24, 48-63.
   21. Letourneau, E. J., Harris, A. J., Shields, R. T., Walfield, S. M., Ruzicka, A. E., Buckman, C., *Kahn, G.
       D., & Nair, R. (2018). Effects of juvenile sex offender registration on adolescent well-being: An empirical
       examination. Psychology, Public Policy, and Law, 24, 105-117.
   22. Willis, G., & Letourneau, E. J. (2018). Promoting accurate and respectful language to describe
       individuals and groups. Guest Editorial. Sexual Abuse, 30, 480-483.
   23. *Feder, K. A., Letourneau, E. J., & Brook, J. (2019). Children in the opioid epidemic: Addressing the
                                                        5
       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.429 Filed 02/02/22 Page 32 6of| P
          J. Letourneau                                                                55a g e


       next generation’s public health crisis. Pediatrics, 143, e20181656.
   24. Letourneau, E. J., Schaeffer, C. M., Bradshaw, C. P., & *Feder, K. A. (2017). Preventing the onset of
       child sexual abuse by targeting young adolescents with universal prevention programming. Child
       Maltreatment, 22, 100-111.
   25. Sandler, J., Letourneau, E. J., Vandiver, D., Shields, R. T., & Chaffin, M. (2017). Juvenile sexual crime
       reporting rates are not influenced by juvenile sex offender registration policies. Psychology, Public
       Policy and the Law, 23, 131–140.
   26. *Dopp, A., Borduin, C., M., Rothman, D., & Letourneau, E. J. (2017). Evidence-based treatments for
       youths who engage in illegal sexual behaviors. Journal of Clinical Child and Adolescent Psychology,
       46, 631-646.
   27. DeHart, D., Dwyer, G., Seto, M., Moran, R., Letourneau, E., & Schwarz-Watts, D. (2017). Internet
       sexual solicitation of children: A proposed typology of offenders based on their chats, E-mails, and
       social network posts. Journal of Sexual Aggression, 23, 77-89.
   28. *Mauro, P. M., McCart, M. R., Sheidow, A. J., *Naeger, S., & Letourneau, E. J. (2017). Parent and
       youth engagement in court-mandated substance use disorder treatment. Journal of Child and
       Adolescent Substance Abuse, 26, 324-331.
   29. Letourneau, E. J., McCart, M. R., Sheidow, A. J., & *Mauro, P. M. (2016). First evaluation of a
       contingency management intervention addressing adolescent substance use and sexual risk behaviors:
       Risk reduction therapy for adolescents. Journal of Substance Abuse Treatment, 72, 56-65.
   30. Chaffin, M., Chenoweth, S. A., & Letourneau, E. J. (2016). Same-sex and race-based disparities in
       statutory rape arrests. Journal of Interpersonal Violence, 31, 26-48.
   31. Harris, A. J., *Walfield, S., Shields, R., & Letourneau, E. J. (2016). Collateral consequences of juvenile
       sex offender registration and notification: Results from a survey of treatment providers. Sexual Abuse:
       A Journal of Research and Treatment, 28, 770-790.
   32. Zgoba, K. M., Miner, M., Levenson, J., Knight, R., Letourneau, E., & Thornton, D. (2016). The Adam
       Walsh Act: An examination of sex offender risk classification systems. Sexual Abuse: A Journal of
       Research and Treatment, 28, 722-740.
   33. Letourneau, E. J., Nietert, P. J., & Rheingold, A. A. (2016). Brief report: Initial assessment of Stewards
       of Children Program effects on child sexual abuse reporting rates in selected South Carolina counties.
       Child Maltreatment, 21(1), 74-79.
   34. *Rinehart, J. K., Armstrong, K. S., Shields, R. T., & Letourneau, E. J. (2016). The effects of transfer
       laws on youth with violent offenses. Criminal Justice and Behavior, 43, 1619-1638.
   35. Shields, R., & Letourneau, E. J. (2015). Commercial sexual exploitation of children and the emergence
       of safe harbor legislation: Implications for policy and practice. Current Psychiatry Reports, 17, 11-18.
   36. Mendelson, T., & Letourneau, E. J. (2015). Parent-focused prevention of child sexual abuse.
       Prevention Science, 16, 844-852.
   37. *Mauro, P. M., McCart, M. R., *Naeger, S., Sheidow, A. J., & Letourneau, E. J. (2015). Caregiver and
       youth engagement in mandated juvenile drug treatment: Influence on substance use. Drug and Alcohol
       Dependence, 146, e188-e201.
   38. Park, J., Bandyopadhyay, D., & Letourneau, E. J. (2014). Examining deterrence of adult sex crimes: A
       semi-parametric intervention time series approach. Computational Statistics and Data Analysis, 69,
       198-207. PMCID: PMC4002981.
   39. Letourneau, E. J., Eaton, W. W., Bass, J., Berlin, F. S., & Moore, S. G. (2014). The need for a
       comprehensive public health approach to preventing child sexual abuse. Public Health Reports, 129,
       222-228. PMCID: PMC3982542.
   40. McCart, M. R., Sheidow, A. J., & Letourneau, E. J. (2014). Risk Reduction Therapy for Adolescents
       (RRTA): Targeting substance use and HIV/STI-risk behaviors. Cognitive and Behavioral Practice, 21,
       161-175. PMCID: PMC4235161.
   41. Martins, S., Lee, G. P., Kim, J. H., Letourneau, E., & Storr, C. L. (2014). Gambling and sexual
       behaviors in African-American adolescents. Addiction Behaviors, 39,854-860. PMCID: PMC3994130.
   42. Fanniff, A. M., & Letourneau, E. J. (2014). Keep testing the waters: Fanniff and Letourneau reply.
       Sexual Abuse: A Journal of Research and Treatment, 26, 401-405.
   43. *Sarver, D. E., McCart, M. R., Sheidow, A. J. & Letourneau, E. J. (2014). ADHD and risky sexual
       behavior in adolescents: Conduct problems and substance use as mediators of risk. Journal of Child
       Psychology and Psychiatry, 55, 1345-1353.
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Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.430 Filed 02/02/22 Page 33 7of| P
          J. Letourneau                                                                55a g e


   44. *Rinehart, J.K., Yeater, E.A., Musci, R.J., Letourneau, E.J., & Lenberg, K.L. (2014). The role of
       ethnicity, sexual attitudes, and sexual behavior in sexual revictimization during the transition to
       emerging adulthood. Child Maltreatment, 19, 178-187.
   45. Letourneau, E. J., Armstrong, K. S., Bandyopadhyay, D., & Sinha, D. (2013). Sex offender registration
       and notification policy increases juvenile plea bargains. Sexual Abuse: A Journal of Research and
       Treatment,25, 189-207. PMID: 22915204.
   46. Letourneau, E. J., Ellis, D. A., Naar-King, S., Chapman, J. E., Cunningham, P. B., & Fowler, S. (2013).
       Multisystemic therapy for poorly adherent youth with HIV: Results from a pilot randomized controlled
       trial. AIDS Care, 25, 507-514. PMCID: PMC4489694.
   47. Chapman, J E., McCart, M. R., Letourneau, E. J., & Sheidow, A. J. (2013). Comparison of youth,
       caregiver, therapist, trained, and treatment expert raters of therapist adherence to a substance abuse
       treatment protocol. Journal of Consulting and Clinical Psychology, 81, 674-680. PMCID: PMC3899684.
   48. *La Flair, L. N., Reboussin, B. A., Storr, C. L., Letourneau, E. J., Green, K. M., Mojtabai, R., Pacek, L.
       R., Alvanzo, A. A. H., Cullen, B., & Crum, R. M. (2013). Childhood abuse and neglect and transitions in
       stages of alcohol involvement among women: A latent transition analysis approach. Drug and Alcohol
       Dependence, 132, 491-498. PMCID: PMC3770786.
   49. Letourneau, E. J., McCart, M. R., *Asuzu, K., *Mauro, P. M., & Sheidow, A. J. (2013). Caregiver
       involvement in sexual risk reduction with substance using juvenile delinquents: Overview and
       preliminary outcomes of a randomized trial. Adolescent Psychiatry, 3, 342-352. PMCID: PMC4581580
   50. Letourneau, E. J., Henggeler, S. W., McCart, M. R, Borduin, C. M., Schewe, P. A., & Armstrong, K. S.
       (2013). Two-year follow-up of a randomized effectiveness trial evaluating MST for juveniles who
       sexually offend. Journal of Family Psychology, 27, 978-985. PMID: 24188082.
   51. Letourneau, E. J., & Caldwell, M. F. (2013). Expensive, harmful policies that don’t work or how juvenile
       sexual offending is addressed in the U.S. International Journal of Behavioral Consultation and Therapy,
       8, 25-31.
   52. *Fanniff, A. & Letourneau, E. J. (2012). Another piece of the puzzle: Psychometric properties of the J-
       SOAP-II. Sexual Abuse: A Journal of Research and Treatment, 24, 378-408. PMID: 22344780.
   53. *Cheely, C.A., Carpenter, L.A., Letourneau, E.J., Nicholas, J.S., Charles, J., & King, L.B. (2012). The
       prevalence of youth with autism spectrum disorders in the juvenile justice system. Journal of Autism
       and Developmental Disorders, 42, 1856-1862. PMID: 22187108.
   54. Hanson, R. K., Letourneau, E. J., Olver, M. E., Wilson, R. J., & Miner, M. H. (2012). Incentives for
       offender research participation are both ethical and practical. Criminal Justice and Behavior, 39, 1391-
       1404.
   55. Dwyer, R. G., & Letourneau, E. J. (2011). Juveniles who sexually offend: Recommending a treatment
       program and level of care. Child and Adolescent Psychiatric Clinics of North America: Special Issue on
       Forensic Child and Adolescent Psychiatry, 20, 413-429. PMID: 21683910.
   56. Levenson, J. S., Letourneau, E. J., Armstrong, K. S., & Zgoba, K. M. (2010). Failure to register as a
       sex offender: Is it associated with recidivism? Justice Quarterly, 27, 305-331.
   57. Letourneau, E. J., Levenson, J. S., Bandyopadhyay, D., Sinha, D., & Armstrong, K. S. (2010). Effects
       of South Carolina’s sex offender registration and notification policy on adult recidivism. Criminal Justice
       Policy Review, 21, 435-458.
   58. Letourneau, E. J., Ellis, D. A., Naar-King, S., Cunningham, P. B., & Fowler, S. L. (2010). Case study:
       Multisystemic Therapy as an intervention for adolescents who engage in HIV transmission risk
       behaviors. Journal of Pediatric Psychology, 35, 120-127. PMCID: PMC2910933.
   59. Bandyopadhyay, D., Sinha, D., Lipsizt, S., & Letourneau, E. (2010). Changing approaches of
       prosecutors to juvenile repeat sex offenders: A Bayesian evaluation. The Annals of Applied Statistics,
       4, 805-829. PMCID: PMC2923855.
   60. Letourneau, E. J., Levenson, J. S., Bandyopadhyay, D., Armstrong, K., S., & Sinha, D., (2010). The
       effects of sex offender registration and notification on judicial decisions. Criminal Justice Review, 35,
       295-317.
   61. Letourneau, E. J., Bandyopadhyay, D., Armstrong, K. S., & Sinha, D. (2010). Do Sex Offender
       Registration and Notification Requirements Deter Juvenile Sex Crimes? Criminal Justice and Behavior,
       37, 553-569.
   62. Letourneau, E. J., Levenson, J. S., Bandyopadhyay, D., Armstrong, K. S., & Sinha, D. (2010). Effects
       of South Carolina’s sex offender registration and notification policy on deterrence of adult sex crimes.
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       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.431 Filed 02/02/22 Page 34 8of| P
          J. Letourneau                                                                55a g e


       Criminal Justice and Behavior, 37, 537-552.
   63. Chaffin, M., Levenson, J. S. Letourneau, E. J., & Stern, P. (2009). How safe are trick-or-treaters? An
       analysis of child sex crime rates on Halloween. Sexual Abuse: A Journal of Research and Treatment,
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          J. Letourneau                                                                55a g e


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Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.433 Filed 02/02/22 Page 3610
          J. Letourneau                                                           of|55
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       Geer (Eds.) Handbook of the assessment and treatment of sexual dysfunctions (pp. 53-81). Boston:
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       and J. H. Geer (Eds.), Handbook of sexual dysfunctions: Assessment and treatment (pp. 303-334).
       Boston: Allyn & Bacon.

Articles, Editorials, and Other Publications Not Peer-Reviewed
    1. Co-author of the Association for the Treatment of Sexual Abusers (ATSA) Registration and Community
       Notification of Children and Adolescents Adjudicated of a Sexual Crime: Recommendations for
       Evidence-Based Reform (2020). Published by ATSA: Beaverton, OR.
    2. Abner, A., Mathon-Mathieu, F., Sefl, T., VandeHei, A. H., Bass, J. & Letourneau, E. J. (2014). Child
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       Available at http://www.jhsph.edu/research/centers-and-institutes/moore-center-for-the-prevention-of-
       child-sexual-abuse/
    3. Borduin, C. M., Letourneau, E. J., Henggeler, S. W., Saldana, L. Multisystemic Therapy for youth with
       problem sexual behaviors: Treatment manual. Charleston, SC: Family Services Research Center.
    4. Letourneau, E. J., & Borduin, C. M. (2008). MST: Treatment for adolescents with delinquent sexual
       behavior. Invited contribution for a special issue of the APSAC Advisor.
    5. Contributor, The War Zone (educational guide to the movie). Learning Enrichment, Inc.
    6. Letourneau, E. J. (1996). Review of Child survivors and perpetrators of sexual abuse: Treatment
       innovations. APSAC Advisor, 9(3), 27-28.
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       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.434 Filed 02/02/22 Page 3711
          J. Letourneau                                                           of|55
                                                                                     Page



 PRACTICE ACTIVITIES

 Overarching goals: To establish a shared understanding of child sexual abuse as a preventable (not
 inevitable) public health problem and develop, evaluate, and disseminate evidence-based child sexual
 abuse prevention policy and practice. My practice activities are presented in three categories:
 i) participate in the development of policy and practice guidelines; ii) provide expertise to legislators and other
 policy makers, and iii) support criminal court challenges to ineffective and harmful policies.


 i). Participate in the development of policy and practice guidelines and strategies.

 Key International Activities
 2021          As a member of the Technical Expert Group, contributed to the development of a report to the
               World Bank Nepal Road and Trade Improvement Project recommending steps to prevent and
               mitigate online and in-person child sexual abuse. Report was submitted by the Care and
               Protection of Children Learning Network, Columbia University (Mark Canavera, Director)

 2019          Served as an external expert reviewer and advisor to the ITU UNESCO Broadband Commission
               for Sustainable Development Working Group on Child Safety Online, which released the report
               Child Online Safety: Minimizing the Risk of Violence, Abuse, and Exploitation Online.

 2019          Provided an expert review of a child sexual abuse perpetration prevention and treatment
               intervention program developed at the behest of the New Zealand National Institute of Mental
               Health to be established as a nation-wide feature of NZ’s public health system.

 2017          Provided live presentation on prevention research at the Pontifical Gregorian University
               in Rome, as part of an invitation-only congress leading to the Declaration of Rome
               by His Holiness, Pope Francis.

 2017          Provided live testimony to hearings convened by the Australian Royal Commission Into
               Institutional Responses to Child Sexual Abuse by the Solicitor and the Commissioners on policy
               and practice pertaining to the prevention of child sexual abuse (Day 1) and the treatment of
               children who engaged in harmful or illegal sexual behaviors (Day 2).

 2016-17       Member of the World Health Organization Guidelines Development Group for Guidelines for
               responding to the sexual abuse of children and adolescents.

 2010          Provide an external review for The Swedish Council on Health Technology Assessment of their
               Treatment methods for child molesters or those at risk of committing sexual offences
               against children: A systematic literature review.

 Key Domestic Activities
 2021        Consultant to Economist Impact Out of the Shadows, an effort to develop a US index by which
             to objectively evaluate individual state efforts to prevent and address child sexual abuse.

 2017          Association for the Treatment of Sexual Abusers (ATSA) Practice Guidelines for Assessment,
               Treatment and Intervention with Adolescents Who Have Engaged in Sexually Abusive
               Behaviors. Developed by the ATSA Adolescent Practice Guidelines Committee including
               Jacqueline Page (Co-Chair), Tom Leversee (Co-Chair), Kevin Creeden, Elizabeth J.
               Letourneau, Sue Righthand, and Daniel Rothman.

 2012          Association for the Treatment of Sexual Abusers (ATSA) Adolescents who have engaged in
               sexually abusive behavior: Effective policies and practice. Policy paper developed by the ATSA
               Adolescent Practice Guidelines Committee with principal authorship by Sue Righthand and
                                                        11
       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.435 Filed 02/02/22 Page 3812
          J. Letourneau                                                           of|55
                                                                                     Page


              Elizabeth J. Letourneau.

 ii). Provide expertise to legislators and other policy makers.

 2021         Consultant to Washington State Sex Offender Policy Board who recommended significant
              changes to state juvenile registration requirements based in part on my research, which is
              heavily cited in their final report to WA Senate Human Services, Reentry and Rehabilitation
              committee.
 2021         Presented live testimony via Zoom to WA State Senate as an expert panelist in support
              of Senate Bill 5123 to end juvenile sex offender registration and notification.
 2020         Provided live testimony via Zoom to WA State legislators, judges, prosecutors in support
              of ending juvenile sex offender registration.
 2020         Provided live testimony on juvenile registration research to the Washington State Senate
              Human Services, Re-entry & Rehabilitation Hearing
 2018         Provided consultation for MD HB 486 requiring stronger checks with former school K-12
              employers of new K-12 applicants.
 2017         Provided consultation for MD HB 1072 requiring evidence-informed child sexual abuse
              prevention efforts in K-12 schools.

 2017         Expert consultant for US Attorney General in Altoona-Johnstown PA re: Catholic
              Diocese responses to child sexual abuse.
 2016         Presented research on juvenile registration to 150 judges at the Oregon Judicial
              Conference.
 2016         Provided live consultation and written review of reports to the Federal Advisory
              Committee on Juvenile Justice subcommittee examining the federal juvenile sex
              offender registration policy.
 2015         Consulted by the US Immigration and Customs Enforcement Child Exploitation and
              Traveling Child Sex Offender Investigations unit.
 2015         Provided live testimony to New Jersey policy makers on impact of Megan’s Law. Stratford, NJ.
 2014         Provided live testimony at the invitation of SC Senate Subcommittee on Corrections and
              Penology regarding efforts to limit state’s juvenile sex offender registration and
              notification policies.
 2014         Provided written review of Bill SWB-5040CM14 to Amend the Sex Offender Registry.
              prior to subcommittee vote on bill submitted by SC Rep. Norman Brannon.
 2013         Provided live testimony via Zoom to Oregon House and Senate Judiciary Committees.
              on juvenile sex offender registration and notification.
 2012         Invited topic expert of the Office of Justice Programs (OJP), Sex Offender Management
              Assessment and Planning Initiative (SOMAPI) Forum, Washington, DC.
 2012         Invited participant in the U.S. Department of Justice, Sex Offender Management Research and
              Practice Forum.
 2011         Invited topic expert in the area of treating sexual offending behaviors in adolescents.
              California Evidence-Based Clearinghouse for Child Welfare (CEBC).
 2011         Provided written testimony to the Judiciary Committee of the Council of the District of
              Columbia regarding Bill 19-255, Sex Offender Registration Amendment Act of 2011.
 2006         Provided live testimony regarding SC Senate Bill S 1267 – Death Penalty for Repeat Sex
              Offenders at subcommittee.

 iii) Support court challenges to ineffective or harmful policies. Since 2003, I have led a program of
 research demonstrating the ineffectiveness and harmfulness of sex offender registration policies. Because
 these policies are legally mandated at the federal and state levels, challenges and policy changes often occur
 in the context of criminal court cases. My contributions as an expert in such cases focuses on mitigating or
 eliminating these harmful practices.

 Key Live Testimony Activities
 2021         PA Court of Common Pleas regarding Commonwealth of Pennsylvania vs. George J. Torsilieri
                                                      12
       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.436 Filed 02/02/22 Page 3913
          J. Letourneau                                                           of|55
                                                                                     Page


               (No. 15-CR-001570-2016); case will be remanded to PA Supreme.
 2016          Circuit Court, Huntsville, Alabama, in the interest of AS; case pertained to juvenile registration
               and notification.
 2014          United States District Court for the Middle District of Alabama, Northern Division (CASE NO.
               2:11–CV–1027–WKW). Case challenged AL’s sex offender registration, notification, residency
               and employment restriction policy.
 2011          Horry County (SC) Circuit Court in the case of People of the State of South Carolina vs. TS.
               Case pertained to the release of TS from sex offender                                civil
               commitment. Court ruled against TS (Opinion No. 27241); overturned by SC Supreme Court
               (Appellate Case No. 2011-194610). May, 2012.
 2010          Charleston County Family Court in a case arguing for juvenile release from sex offender
               registration and notification requirements.
 2009          Washtenaw County (MI) Trial Court, Family Division in the case of People of the State of
               Michigan v TD. Case No. 294716
 2008          OH court In re CP, 2008-CP-26-3108.

 Key Written Affidavits, Declarations, and Amicus Curiae Activities
 2020         Lead author, with Michael Caldwell, for amicus brief submitted to Supreme Judicial Court
              for the Commonwealth of Massachusetts, Juvenile Vs. Commonwealth (Docket No. SJC-
              12790) on juvenile registration as a failed and harmful policy. Co-signed by 10 experts.
 2018         Provided written affidavit summarizing the science on sex offender registration and
              to the PA Court of Common Pleas for the case of Commonwealth of Pennsylvania vs.
              George J. Torsilieri (No. 15-CR-001570-2016), which found the state registration
              requirements were unconstitutional as a form of enhanced punishment based on an
              irrebuttable presumption of future dangerousness.
 2018         Two of my publications were cited in a New Jersey Supreme Court decision that lifetime
              sex offender registration is unconstitutional for juveniles. State of New Jersey in the
              Interest of C.K. (A-15-16) (077672).
 2014         Co-authored an amici curiae filed with OH Supreme Court for the case of In re
              D.S. 2014-06-7. Brief challenged classification of a youth as a tier II juvenile offender
              registrant for offenses that occurred when he was either 13 or 14 years old. The Court
              overturned the registration requirement.
 2014         Co-authored an amici curiae filed with the Supreme Court of PA for the case In re J.B. et
              al. Nos. 87-93 MAP 2013 (J-44A-G-2014). The Court ruled that juvenile sex offender
              registration policy was unconstitutional.
 2013         Submitted a written affidavit to the Court of Common Pleas of York County,
              Pennsylvania, for the case In re: JB, LAD, DE, KOH, AM, JT, DT.
 2012         Provided an affidavit summarizing registration research to the PA Lower Court for the case of
              In re J.B. et al., No. CP-45-JV-249-2012. Case challenged registration of a minor in PA.
              Registration requirement was initially overturned by a lower court, then reinstated upon
              appeal, ending with the Supreme Court of PA ruling, noted above. In re C.P. 2010-0731.
 2010         Contributed to amici curiae filed on September 28, 2010 with OH Supreme Court. Brief
              disputes Ohio law pertaining to registration requirements for a minor adjudicated of rape.
 2010         Contributed to amici curiae filed on August 24, 2010 with OH Supreme Court for the
              case In re D.B. 2010-0240. Brief disputes fairness of rape adjudication for 12-year-old
              boy who engaged in consenting sex with and 11 and 12-year-old male peers.

Media Presentations and Interviews (selected since 2012)
  • In Defense of Children Podcast with Chris Kleiser. June 23, 2021
  • UNDARK. June 7, 2021. Can a radical treatment for pedophilia work outside of Germany?
         o Also featured in: The Wire Science. https://science.thewire.in/health/can-a-radical-treatment-for-
               paedophilia-work-outside-of-germany/
   •    WYPR Midday with Tom Hall. April 26, 2021. Combating the rise of child sexual abuse during the
        pandemic.
   •    Bloomberg. December 30, 2019 (Economics).
                                                        13
       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.437 Filed 02/02/22 Page 4014
          J. Letourneau                                                           of|55
                                                                                     Page


   •   The Hill. September 11, 2019 (Opinion). We spend billions after child sexual abuse happens and
       nothing to prevent it
   •   Vice News Tonight! August, 2019.
   •   Rolling Stone. July 11, 2019. Alabama Sex Offender Bill: What is Chemical Castration and Why is it so
       Controversial?
   •   The Sentinel. February 8, 2019. Charging Adults for Sex Offenses Committed as Kids: ‘Miscarriage of
       Justice’?
   •   The Washington Post. October 25, 2018. What to do when your child is accused of sexually
       inappropriate behavior.
   •   Psychology Today Prevention Now Blog. June 22, 2018. Crisis on the Southern Border: We’re Putting
       Kids in Danger.
   •   HealthDay News. June 4, 2019. Child sexual abuse in the United States exacts an enormous economic
       toll, researchers report.
   •   Sports Illustrated. May 21, 2018. Prospect and Pariah.
   •   TEDMED. December 1, 2016.
   •   New York Post. October 30, 2016. Grown-up’s new schemes to ruin Halloween.
   •   Star Tribune Op-Ed, September, 2016: After Jacob, Work Harder to Prevent Child Sexual Abuse
   •   PBS News Hour, June, 2016: Should a Juvenile Offender be Locked Up Indefinitely?
   •   Pacific Standard, May, 2016: What’s the Real Rate of Sex-Crime Recidivism?
   •   The New Yorker, March, 2016: The List
   •   Psychology Today, November, 2015: Sympathy for the Deviant
   •   On Point with Tom Ashbrook, June, 2015: Secrets and Realities of US Child Abuse
   •   Newsweek, June 2015: The Hunt for Child Sex Abusers is Happening in the Wrong Place
   •   Washington Post, August 20, 2015: The Jared Fogel case: Why we understand so little about child
       sexual abuse.
   •   Newsweek, June 23, 2015: The hunt for child sexual abusers is happening in all the wrong places.
   •   Freakonomics Radio, June 10, 2015: Making sex offenders pay - and pay and pay and pay.
   •   On Point, NPR, June 3, 2015: Secrets and realities of US child sex abuse.
   •   Observado (Portuguese newspaper) April 29, 2015: Distribuíram papéis a avisar que eu era pedófilo
       (translation: They distributed papers to warn that I was a pedophile).
   •   TIME Op-Ed, October 14, 2014: We need to make it easier for pedophiles to seek help.
   •   Matter Magazine, August 10, 2014: Your 16, you’re a pedophile, you don’t want to hurt anyone. What
       do you do now?
   •   Vox. June 4, 2015. This woman is trying to stop juvenile sex offenders – by helping them.
   •   This American Life, April, 2014: Help Wanted
   •   Politico: Panelist on Domestic Sex Trafficking, with Mrs. Cindy McCain and Malika Saada Saar
   •   Baltimore Sun Op-Ed, August 6, 2013: A prevention-first approach to child sexual abuse
   •   CNN. October 13, 2012: Because of you, I trust no one.
   •   Baltimore Sun, July 18, 2012: Sandusky case: Child sexual abuse needs prevention, not just
       punishment.
   •   PBS News Hour, July 12, 2012: What are the lessons from the Penn State Scandal?

Other Practice Activities
2015                 Panelist for public engagement session: Understanding sexual violence against children:
                     causes, consequences and prevention. Dublin, Ireland.
2014                 Panelist for public engagement session: Making Society Safer: A public engagement
                     event. San Diego, CA, October

Clinical Activities (ended in 2011)
2007-10                Clinical Supervisor for MST-HIV study therapists
2004-07                Clinical Consultant for MST-PSB study team
2003-2006              Clinical Consultant for general MST teams
1999-01                Sex offender evaluations, South Eastern Offender Assessments, Summerville, SC
1997                   Part-time therapist, Psychological Specialists, Augusta, GA
1994                   Behavior modification consultant, Community Mental Health, Charleston, SC.
1993                   Behavior modification consultant, Cerebral Palsy Foundation, Augusta, IL.
                                                     14
       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.438 Filed 02/02/22 Page 4115
          J. Letourneau                                                           of|55
                                                                                     Page




                                            15
       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.439 Filed 02/02/22 Page 4216
          J. Letourneau                                                           of|55
                                                                                     Page


                                          CURRICULUM VITAE

                                    ELIZABETH JANE LETOURNEAU

                                                 PART II

TEACHING

Post-doctoral fellows
2021-                 Maggie Ingram, PhD, Global Perpetration Prevention Training Program; funded by Oak
                      Foundation Award (PI: Letourneau)
2021-                 John Thorne, PhD, Moore Center for the Prevention of Child Sexual Abuse Fellowship;
                      funded by Moore Center (PI: Letourneau)
2012-2014             Jennie Rinehart, PhD, Prevention Science Training Program Postdoctoral NRSA
                      Fellowship, NIMH (PI: Ialongo) and Drug Dependency Epidemiology Training Program
                      (DDET) Postdoctoral NRSA Fellowship, National Institute of Drug Abuse, Johns Hopkins
                      Bloomberg School of Public Health(PI: Furr-Holden)
                      Current Position:

Advisees
   • Doctoral Advisees
      Kenneth Feder                PhD, Mental Health                                2015-2019
      Jonathon Thorne              PhD, Mental Health                                2016-2020
      Geoffrey Kahn                PhD, Mental Health    (changed advisors)          2016-2017
      Maegan Ingram                PhD, Mental Health                                2017-2021
      Nicole McConico              PhD, Mental Health    (changed advisors)          2019
      Kathryn Kaplan               DrPh, Public Health                               2020-
       Alex Newman                 PhD, Mental Health                                2021-

   •   Doctoral Thesis Committees
       Megan Schuler              PhD, Mental Health                                 2012-2013
       Maya Nadison               PhD, Mental Health                                 2012-2014
       Stephanie Guinooso         PhD, Population, Family & Reproductive Health      2013
       Meredith Matone            DrPH, Population, Family &Reproductive Health      2014-2015
       Anna Flynn                 PhD, Mental Health                                 2014-2015
       Stacey Lloyd               PhD, Mental Health                                 2015-2017
       Ryoko Susukida             PhD, Mental Health                                 2015-2017

   •   MHS & MPH Advisees
       Christine Kwitkowski                                                          2011-2012
       Sarah Marshall                                                                2013-2014
       Ahmed Hassan                                                                  2013-2016
       Marissa Kobayashi                                                             2013-2014
       John Thorne                                                                   2015-2016
       Maegan Ingram                                                                 2016-2017
       Dannielle Brown                                                               2016-2017
       Melissa Box                                                                   2019-2021

   •   Humphrey Fellow Advisee
       George Leveridge            MD, Psychiatrist, Jamaica                         2012-2013

   •   JHU BA/MPH Advisee
       Danielle Brown                                                                2015-2014

Preliminary Oral Participation
                                                    16
       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.440 Filed 02/02/22 Page 4317
          J. Letourneau                                                           of|55
                                                                                     Page


       Megan Schuler                   Mental Health                                      2011
       Lauren Ropelewski               Mental Health                                      2011
       Anna Flynn                      PhD, Mental Health                                 2014
       Stacey Lloyd                    PhD, Mental Health                                 2015

Final Oral Participation
       Megan Schuler                   Mental Health                                      2011
       Stephanie Guinooso              PhD, Population, Family & Reproductive Health      2013
       Jenna Riis                      PhD,

Classroom Instruction
       Childhood Victimization: A Public Health Perspective (330.640)                     2013-
       Childhood Victimization: A Public Health Perspective (Summer Institute)            2015-2018
       Manuscript Writing for the Social Sciences                                         2016-

Other Significant Teaching
   • Advisees: Other Institutions
       University of New Hampshire
       External advisor to Kie Saito                                                      2015-

       Medical University of South Carolina, Masters in Science of Medical Students
       Advisor to Josh Eichenberger                                                       2010

       Griffith University, Brisbane, Australia, Doctor of Philosophy in Clinical Psychology
       External dissertation reviewer for Belinda Crissman                                 2010

       Adelphi University, Doctor of Philosophy in Clinical Psychology
       Dissertation committee member for Victor Kersey                                    2005

   •   Guest Lectures
       2014-2015     Understanding and Preventing Violence, Professor Daniel Webster (2014-2015)
       2013-2014     Understanding and Preventing Violence, Professor Daniel Webster (February 24, 2014)
                     Third Child Health Forum: Translating Research to Policy and Practice “Children in
                     Danger: Gaps in Policy & Implementation Across Developed and Developing Countries.”
                     Moderated by Bernard Guyer (February 10, 2014)

       2012-2013      Current Issues, Professor Edith Schoenrich (December 7, 2012)
                      Manuscript Writing, Professor Tamar Mendelson (November 12, 2012)
                      Grant Writing, Professor Philip Leaf (December 11, 2012)

       2011-2012      Wednesday Noon Seminar Series, Department of Mental Health
                      Substance Use and Sexual Risk Reduction for Juvenile Drug Court Involved Youth
                      Wednesday Noon Seminar Series, Department of Mental Health
                      Juveniles who Sexually Offend: Research, Treatment, and Policy Milestones.

       2010           Wednesday Noon Seminar Series, Department of Mental Health
                      What is the right policy for sex offenders? Using evidence to optimize individual rights
                      and public safety.

   •   Classroom Instruction: Other Institutions

       2014           Presented to a Psychology AP course taught at JHU
       2010, 2012     Medical Ethics, Medical University of South Carolina
       2010           Clinical Trials: Developing and Editing Manuscripts
                      Graduate School, Medical University of South Carolina
                                                       17
       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.441 Filed 02/02/22 Page 4418
          J. Letourneau                                                           of|55
                                                                                     Page


                      Elective individual research instruction.
       1997           Child Development
                      Department of Psychology, Augusta State University
                      Undergraduate course
       1997           Abnormal Psychology
                      Department of Psychology, Augusta State University
                      Masters of Arts, Clinical Psychology graduate program
       1996           Child Development
                      Department of Psychology, Augusta State University
                      Undergraduate course
       1996           Intellectual Assessment
                      Department of Psychology, Augusta State University
                      Masters of Arts, Clinical Psychology graduate program


RESEARCH GRANT PARTICIPATION

Center Funding
 Center                                               Role     Benefactor                        Funding
                                                                                                 Amount
 Moore Center for the Prevention of Child Sexual      Director Dr. Stephen and Mrs. Julia         Private
 Abuse                                                         Moore
 (10/1/2017 – 9/30/2022)

 Moore Center for the Prevention of Child Sexual      Director Dr. Stephen and Mrs. Julia         Private
 Abuse                                                         Moore
 (10/1/2012 – 9/30/2017)


Principal Investigator
 Title                                                Agency                    Level       Budget Amount
 Establishing Perpetration Prevalence Rates           Human Dignity              20%           $3,271,000
 Internationally.                                     Foundation
 (11/01/2021-10/31/2026; HDF# INT21-02

 Expanding Help Wanted Prevention Intervention        Google.org                                 $150,000

 Global Perpetration Prevention: Transforming         Oak Foundation             50%          $10,297,849
 Knowledge to Action.
 This transformative grant funds a 5-year program
 of research to identify, evaluate, and disseminate
 effective child sexual abuse perpetration
 prevention strategies.
 (1/1/2021-12/31/2025; OFIL-20-257)

 Help Wanted: Evaluating a Prevention                 CDC NCIPC                  20%           $1,575,691
 Intervention for People with Sexual Interest in
 Children
 (9/30/2020 – 9/29/2024; U01CE003310)

 COVID-19 Rapid Response: Public launch of            Oak Foundation via         10%             $100,000
 Help Wanted Prevention Intervention                  The TIDES
 (4/1/2020 – 3/30/2021)                               Organization

 Moore Center Planning Grant                          Oak Foundation via         20%             $228,623
                                                        18
       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.442 Filed 02/02/22 Page 4519
          J. Letourneau                                                           of|55
                                                                                     Page


 (2/1/2020 – 1/31/2021)                                Fidelity Charitable


 Help Wanted Prevention Intervention                   HAND Foundation          5%      $67,000
 (2/25/19 – 2/24/20)

 Evaluation of Factors Associated with the             Together for Girls       3%      $46,000
 Perpetration of Sexual Violence Against Children
 (3/15/19 – 9/14/20)

 A national evaluation of Medicaid expansion on        CDC                      18%    $890,849
 the prevention of child abuse and neglect, youth
 violence, and intimate partner violence
 (9/30/18 – 9/29/21); (U01 CE002947-01)

 Supplement to national evaluation of Medicaid         Annie E. Casey           18%    $200,000
 expansion on the prevention of child abuse and        Foundation
 neglect, youth violence, and IPV
 (9/30/18 – 9/29/21); (GA-2015-X3200)

 Evaluating Child Sexual Abuse Prevention              CDC Subaward             10%    $336,265
 Strategies within Youth Serving Organizations         through JHCIRP
 (8/1/2019 – 7/31/2022) (R49 CE003090; Johns
 Hopkins Center for Injury Research and Policy,
 Project 2:

 Examining the USCSS’S Sexual Misconduct               US Center for Safe       16%    $150,395
 Registry (1/1/2019 – 6/30/2020)                       Sport

 Changing the Paradigm: CSA as a Preventable           NICHD                    35%   $2,852,301
 Public Health Problem
 (9/1/2018 – 8/31/2023); (R24HD089955)

 Preventing Child Sexual Abuse in Youth Serving        Bloomberg American       30%    $250,000
 Organizations                                         Health Initiative High
 (4/1/2018 – 9/30/2020)                                Impact Award

 Support for juvenile registration policy efforts      Annie E. Casey           NA     $100,000
 (5/1/2017 – 4/30/2018) (GA-2017-X4269)                Foundation

 Preventing Problem Sexual Behavior Among              NICHD                    15%    $469,289
 Young Adolescents
 (5/1/16 – 4/30/19) (R21 HD083704-01A1)

 Supplement to collateral consequences of              Annie E. Casey           NA      $50,000
 juvenile sex offender registration and notification   Foundation

 Commercial Sexual Exploitation of Children:           OJJDP                    10%    $499,034
 Multi-state Evaluation of Safe Harbor Laws
 (1/1/2015 – 12/31/2017) (2014-MC-FX-0001)

 Help Wanted: Designing a Prevention                   Raliance (sic)           5%      $50,000
 Intervention for Adolescents who are Sexually
 Attracted to Children (4/1/2018-3/31/2019)


                                                         19
       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.443 Filed 02/02/22 Page 4620
          J. Letourneau                                                           of|55
                                                                                     Page


 Collateral Consequences of Juvenile Sex             Open Society               15%                    $200,000
 Offender Registration and Notification              Foundations Criminal
 (06/01/2012-06/31/2014)                             Justice Fund

 Gift to support secondary data analyses on child    Let Go Let Peace               NA                 $136,000
 sexual abuse                                        Come In Foundation
 (3/15/2012 – 3/14/2013)

 Juvenile Registration and Notification Policy       OJJDP                      25%                    $499,974
 Effects: A Multistate Evaluation Project
 (10/1/2010 – 4/30/2015) (2011-MU-FX-4004)

 Targeting HIV Risk Behaviors in Juvenile Drug       NIDA                           NA                  $70,982
 Court-Involved Youth (Supplement)
 (09/25/2011- 06/30/2013) (R01 DA025880-04S1)

 Targeting HIV Risk Behaviors in Juvenile Drug       NIDA                       35%                  $1,795,836
 Court-Involved Youth
 (09/25/2008–06/30/2013) (R01 DA025880)

 Adapting MST to Address Transmission Risk           NIMH                           NA                  $73,750
 (Supplement)
 (02/01/2009-01/31/2011) (R34 MH077500-01A1)

 Adapting MST to Address Transmission Risk           NIMH                       10%                    $616,136
 Behaviors in HIV+ Youth People
 (02/01/2007-01/31/2011) (R34 MH077500-01A1)

 Preventing Sexual Violence: Does Sex Offender       CDC                        35%                    $886,112
 Registration and Notification Work?
 (09/01/2005-08/30/2009) (R49-000-567)

 Evaluating the Effectiveness of Sex Offender        NIJ                        35%                    $484,106
 Registration & Notification Policies for Reducing
 Sexual Violence against Women
 (08/01/2006-07/31/2009) (2006-WG-BX-0002)

 Offender Registration: Examination of Intended      NSF                        25%                    $250,000
 and Unintended Effects on Juvenile Offenders
 (4/1/2005-3/31/2006) (SES-0455124)

 New Investigator Award: A Comparison of Penile      ATSA                           NA                  $25,000
 Plethysmography and Visual Reaction Time
 Measures of Sexual Arousal
 (10/1/97-09/30/98)


Other Research Support
 Title                                               Agency       PI                     My Role
 PRIOIRTY: Prevention to Reduce Incidence Of         European     Dr. Peer Briken        Scientific Advisor and
 Sexual Abuse by Reaching Individuals                Commissio                           Consultant
 Concerned About Their Risk to Young People          n Internal
 (12/1/2021-11/30/2024) (ISF-Police Action           Security
 Grant, Project #101038787)                          Fund –
                                                     Police
                                                       20
       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.444 Filed 02/02/22 Page 4721
          J. Letourneau                                                           of|55
                                                                                     Page



 COVID-19 Rapid Response: Creating a portal of       Oak          Dr. Michael Seto     Co-investigator/Site PI
 resources for people concerned about their own      Found. via
 sexual thoughts and behaviors                       The TIDES
 (4/1/2020 – 3/30/2021)

 Alcohol policies to prevent and reduce youth        CDC          Dr. Debra Furr-      Co-investigator
 violence exposure                                                Holden
 (9/1/2015 – 8/30/2018) (1R01CE002682)

 Examining bias in judicial outcomes for youth       Donor-       Dr. Ryan Shields     Co-Principal
 who have sexually offended: Are boys with male      advised                           Investigator
 victims treated differently than boys with female   fund
 victims?
 (5/27/2015 – 6/30/2017)

 Development and Validation of an Actuarial Risk     NIJ          Mr. KiDeuk Kim       Co-Investigator
 Assessment Tool for Juvenile Sex Offenders
 (1/1/2014 – 12/30/2017)

 Protecting Children Online: Using Research-         OJJDP        Dr. Gregg Dwyer      Co-Principal
 Based Algorithms to Prioritize Law Enforcement                                        Investigator
 Internet
 (10/01/2012 – 9/30/15) (2011-MC-CX-0002)

 Building a Prevention Framework to Address          OJJDP        Dr. Andrew Harris    Co-Principal
 Teen 'Sexting' Behaviors                                                              Investigator & Site
 (10/01/2010-11/30/2013) (2010-MC-CX-0001)                                             Principal Investigator

 A Multi-state Recidivism Study Using Static-99      NIJ          Dr. Kristin Zygoba   Co-Investigator & Site
 and Static-2002 Risk Scores and Tier Guidelines                                       Principal Investigator
 from the Adam Walsh Act
 (11/1/2008-10/31/2011) (2008-MU-MU-0001)

 Effectiveness Trial: MST with Juvenile Sexual       NIMH         Dr. Scott            Co-Investigator &
 Offenders                                                        Henggeler            Project Director
 (03/14/2003-02/29/2009) (1RO1MH65414)

 Testing Context Effects on Treatment of Drug        NIDA         Dr. Sonja            Research Coordinator
 Using Youths                                                     Schoenwald
 (04/01/05-07/30/05) (R01 DA19107-01 A1)

 An MST-Based Continuum of Care                      Annie E.     Dr. Scott            Research Coordinator
 (06/01/96-2/28/04 ) (Contract No. 96.2013)          Casey        Henggeler

 Transportability of New Treatments: MST as a        NIMH         Dr. Sonja            Project Coordinator
 Test Case                                                        Schoenwald
 (09/01/99-05/31/04) (R01MH59138-02)


ACADEMIC SERVICE
Division/Department
    • Chair, Faculty Development Committee: 2019-
    • Doctoral Student Admissions Committee: 2015-present
    • Open faculty search committee: 2014-2015
                                                       21
       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.445 Filed 02/02/22 Page 4822
          J. Letourneau                                                           of|55
                                                                                     Page


   •   Doctoral student awards committee: 2014-2019

School
   • Member, Committee on Appointments and Promotions: 2019-
   • Member, Committee on Honors & Awards: 2016-2019
   • Center for AIDS Research (CFAR) Internal Scientific Review, ad hoc reviewer: 2015
   • Committee on Appointments and Promotions, ad hoc member: 2012
   • Anna Baejter Society. Panelist: Mental Health as Public Health: Global Implications: April, 2013
   • Panelist: A Global Perspective on Human Trafficking (Dispelling Myths): December, 2012

University
   • Child Protection Committee (formerly Committee on Policies and Procedures for Youth Programs):
       2011 - 2017

Other Institutions
Kennedy Krieger Institute
   • Search committee for senior research position: 2015

Medical University of South Carolina
  • Institutional Review Board Member: 2010-2011
  • Executive Research Committee Member: 2009-2011
  • Appointment, Promotion, and Tenure Committee: 2007-2010


PRESENTATIONS (Selected)

Invited Keynote, Plenary, and International Presentations
Multisystemic Therapy. Keynote Presentation at the Annual Mental Health Seminar, Roanoke, VA, 2003.
MST and Juvenile Sex Offenders. Conference presentation at the annual conference of the International
        Association for Treatment of Sexual Abusers, Athens, Greece, 2004
Legal Consequences of Juvenile Sex Offending. Conference presentation at the annual conference of the
        International Association for Treatment of Sexual Abusers, Athens, Greece, 2004
Multisystemic Therapy (MST): Bases of Success in Treating Serious Clinical Problems in Children and
        Adolescents. Keynote presentation at Kind & Adolescent. Amersfoort, The Netherlands, 2004
MST and the Treatment of Juvenile Sex Offenders. Paper presentation at the International Association for the
        Treatment of Sexual Offenders (IATSO). Athens, Greece, 2004.
Legal Policies for Juvenile Sexual Offenders in the United States. Paper presentation at the International
        Association for the Treatment of Sexual Offenders (IATSO). Athens, Greece, 2004
Adaptations of MST for Juvenile Sexual Offenders. In S. W. Henggeler (Chair) Developing and Adapting MST
        for New Populations. Symposium presented at the Blueprints Conference, March 13-15, Denver,
        Colorado, 2006 (With Dr. Charles Borduin)
Effectiveness of Multisystemic therapy with juvenile sex offenders: 1-yr outcomes of a randomized trial.
        Presented at the first convening of the sex offender researcher roundtable. Banff, Canada, 2008
Multisystemic therapy for juvenile sex offenders: Results from a randomized effectiveness trial. Keynote
        presentation at the 18th annual conference and practice workshops of the National Organization for the
        Treatment of Abusers, Cardiff, UK, 2008
Multisystemic therapy with juvenile sex offenders. Workshop presented at the 18th annual conference and
        practice workshops of the National Organization for the Treatment of Abusers, Cardiff, UK, 2008
Sex offender registers and adolescents: Helpful, harmful, or no effect? Invited policy presentation for Australia-
        New Zealand Association for Sexual Abuse (ANZATSA). Sydney, Australia, 2009
Effects of Sex Offender Registration and Notification as Applied to Juveniles. Griffith University Research
        Policy Practice Symposium. Brisbane, Australia, 2009
Sex offender registration and notification: Outcomes from a US experiment. Invited keynote presentation to
        the 29th Meeting of the INTERPOL specialists group on crimes against children. Lyon, France, 2011

                                                        22
       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.446 Filed 02/02/22 Page 4923
          J. Letourneau                                                           of|55
                                                                                     Page


Juvenile registration and notification: A policy failure. Invited lecture to the 29th Meeting of the INTERPOL
        specialists group on crimes against children. Lyon, France, 2011
Juveniles who Sexually Offender: Research, Treatment, and Policy Milestones. Keynote presentation, 30th
        Annual Research and Treatment Conference. Association for the Treatment of Sexual Abusers.
        Toronto, CA, 2011
Prevention of Child Sexual Abuse. First Annual Symposium, Child Sexual Abuse: A Public Health Perspective.
        Johns Hopkins Bloomberg School of Public Health, Baltimore, MD, 2012
Juvenile sex offender registration and notification as failed policy. Keynote presentation at the South Carolina
        ATSA Conference. Charleston, SC, 2014
Child Sexual Abuse: A public health perspective. Keynote presentation at the Utah Conference: Intervention
        and Treatment of Sexual Violence. Salt Lake City, UT, 2014
Child sexual abuse as a public health problem. Keynote presentation at the 18th Annual MnATSA Conference.
        Minneapolis, MN, 2014
Invited presentation to the University of South Carolina School of Law. Columbia, SC, 2014
Invited keynote presentation to the South Carolina ATSA conference. Charleston, SC, 2014
Preventing sexual abuse: Learning together/Working together. Keynote presentation at the Mid Atlantic Region
        Chapter of the Association for the Treatment of Sexual Abusers. Rehoboth, DE, 2014
Evidence-based practice in the assessment, treatment, and supervision of youthful sex offenders. Keynote
        presentation at the 13th Annual INSOMM Program Training Conference. Indianapolis, IN, 2014
Help Wanted: Young people living with sexual attraction to younger children. Keynote presentation at the 33rd
        Annual Research and Treatment Conference of the Association for the Treatment of Sexual Abusers.
        San Diego, CA, 2014 (With Mr. Luke Malone)
Pedophilia: Predisposition or Perversion? Panel hosted by Columbia University Graduate School of
        Journalism, New York City, NY, 2015 (With Mr. Luke Malone and Dr. James Cantor)
Child sexual abuse: A preventable public health problem. Keynote presentation at NYS ATSA/Alliance 20th
        Annual Conference, Albany, NY, 2015
Adolescents with problem sexual behaviors: Empirically and ethically supported practice guidelines. Workshop
        presented at the NYS ATSA/Alliance 20th Annual Conference, Albany, NY, 2015
Child sexual abuse: Prevention in schools. Presented to Prince George’s County School Psychologist
        Professional Staff Development Meeting, Prince Georges County, MD, 2015
Youth who sexually offend: Sound practice and policy. Keynote presentation at the Juvenile Justice
        Symposium, a King County CLE event, Seattle, Washington, 2015
Effective treatment practices for youth who have sexually offended. Workshop presentation at the Juvenile
        Justice Symposium, a King County CLE event, Seattle, Washington, 2015
Ethical and effective practice with youth who have sexually offended. Invited workshop presented at the NOTA
        Annual International Conference 2015, Dublin, Ireland, 2015
Revising harmful policy: An inside look at US juvenile sex crime laws. Invited session presentation at the
        Young People and the Law conference, Prato, Italy, 2015
Funding for Child Sexual Abuse Research and Evaluation. Convened by the National Coalition to Prevent
        Child Abuse and Exploitation, 2015 (webinar)
Panel Series on Sex Offender Registration and the Law: The Impact of SORLs on Rates of Offending.
        Convened by NYU Review of Law and Social Change, 2015 (webinar)
Juvenile sex offender registration issues. Convened by the National Association for Public Defense, 2015
        (webinar)
Youth who sexually offend. Invited presentation at the VSOTA 30th Annual Training on the Management and
        Treatment of Sex Offenders. Williamsburg, VA, 2016
Child sexual abuse: A public health perspective. Invited presentation at the VSOTA 30th Annual Training on the
        Management and Treatment of Sex Offenders. Williamsburg, VA, 2016
Child sexual abuse: A preventable public health problem. Keynote presentation at the 2nd Online PROTECT
        Conference. London, U.K., 2016
The ethics and impact of secondary prevention of Child Sexual Harm: A roundtable discussion. Convened by
        online PROTECT Project. Served as invited panel member and discussant. London, UK, 2016
Responsible behavior with younger children. Invited presentation at the Trauma Informed Schools Conference,
        convened by the Solutions Network, Pennsylvania State University, University Park, PA, 2016


                                                       23
       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.447 Filed 02/02/22 Page 5024
          J. Letourneau                                                           of|55
                                                                                     Page


Applying sound policy and practice to youth who commit crimes of a sexual nature. Keynote presentation at the
        Oregon Judicial Conference, Glenden Beach, OR, 2016
Applying sound policy and practice to youth who commit crimes of a sexual nature. Charles Shireman
        Lecturer, Portland State University, Portland, OR, 2016
Preventing child sexual abuse. Plenary Session, ASTA Annual Conference, Orlando, FL, 2016
Applying sound practice and policy to youth who commit crimes of a sexual nature. Keynote presentation at the
        Oregon Criminal Defense Lawyer’s Annual Juvenile Law Conference, Newport, OR (via Skype), 2017
Prevention, policy and practice with youth at risk of engaging in harmful or illegal sexual behaviors. Keynote
        presentation at the Michigan Governor’s Task Force on Child Abuse and Neglect Summit. Travers City,
        MI, 2017
Child sexual abuse is a preventable public health problem. Keynote presentation at the National Children’s
        Alliance Leadership Summit. Washington, DC, 2017
Preventing Child Sexual Abuse. Keynote presentation. ANZATSA 2017 Conference, Auckland, NZ, 2017
Help Wanted: Focusing on the Prevention of Child Sexual Abuse. Workshop. ANZATSA 2017 Conference,
        Auckland, New Zealand, 2017
From Hysteria to Hope: Bringing Reason to the Fight Against Child Sexual Abuse. Keynote presentation.
        Children’s Justice Conference, Spokane, Washington, 2018
Costly, Ineffective, and Harmful: Juvenile Sex Offender Registration Needs to Go. Plenary Luncheon.
        American Professional Society on the Abuse of Children, New Orleans, LA, 2018
From Hysteria to Hope: Bringing Reason to the Fight Against Child Sexual Abuse. Mark J. Chaffin Lecture and
        Luncheon. National Symposium on Sexual Behavior of Youth, Norman, OK, 2018
The Latest Research and Solutions for School Districts. Keynote Presentation at New York Schools Insurance
        Reciprocal (NYSIR) Symposium on New Frontiers in the Prevention of Child Sexual Abuse and
        Molestation. Saratoga Springs, NY, 2018
From Hysteria to Hope: Bringing Reason to the Prevention of Child Sexual Abuse (2019). Keynote
        presentation at the annual San Diego Conference on Child Maltreatment. San Diego, CA.
Keynote presentation on prevention of child sexual abuse. IATSO Conference. Vilnius, Lithuania, 2018
Preventing Sexual Abuse of Children in the Context of the 30th Anniversary of the UN Convention on the Rights
        of the Child. 2019. Paias des Nations, Geneva.
Keynote Presentation to the Y-USA Annual Meeting on Child Safety. 2019. Roanoke, VA.
Plenary at the Children’s Trust Fund Conference. 2019. Columbia, MO.
US Council of Bishop’s Annual Conference on Child Safety. Keynote. 2019. Camden, NJ.
Marie Collins Foundation. Keynote. 2020. London, UK (via Teleconference).
National Convening on Youth Registries. 2020. Chicago, IL (via Teleconference).
Keynote presentation on preventing and addressing child sexual abuse in youth serving organizations. Higher
        Education Protection Network (HEPNet). With Drs. Luciana Assini-Meytin and Keith Kaufman. May 11,
        2021 (via Teleconference).

Presentations by Students (*) with my Involvement
Letourneau, E. J. & *Crouch, J. L. (1996, November). The Juvenile Sex Fantasy Questionnaire. Paper
        presented at Association for the Treatment of Sexual Abusers, Chicago, IL.
*Lewis, T., & Letourneau, E. J. (1997, March). Backlash in the classroom. Poster session presented at the
        annual Southeastern Psychological Association Convention, Atlanta, GA.
*Molnar, V. H. & Letourneau, E. J. (1997, May). Impact of Mood and Behavior During a Voluntary 24-hour
        Relay Running Event. Poster presented at the Undergraduate Research Conference, Birmingham, AL.
*McKie, K., & Letourneau, E. J. (1997, October). Long-term physical health sequela of interpersonal violence:
        Theories and research. Paper presented at the 4th Annual Conference of the Southern Regional
        Chapter of the Association for Women in Psychology, Wilmington, NC.
*Fickle, A., & Letourneau, E. J. (1997, October). Do universities have the right or the responsibility to act as
        Internet censors? Paper presented at the 16th Annual Research and Treatment Conference of the
        Association for the Treatment of Sexual Abusers, Washington, DC.
Letourneau, E. J. & *Lewis, T. C. (1998, January). Backlash in the Classroom: The Portrayal and Betrayal of
        Child Sexual Assault Victims in Introductory Psychology Textbooks. Paper presented at San Diego
        Conference on Responding to Child Maltreatment, San Diego, CA.
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Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.448 Filed 02/02/22 Page 5125
          J. Letourneau                                                           of|55
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Letourneau, E. J., Holmes, M. M., & *Chasedunn-Roark, J. (1998, January). Long Term Physiological
       Consequences of Interpersonal Violence. Paper presented at the San Diego Conference on
       Responding to Child Maltreatment, San Diego, CA.
*Mauro, P. M., Letourneau, E. J., McCart, M. R., & Sheidow, A. J. (2013, June). Contingency management
       intervention tailored for juveniles in drug court: Preliminary short-term substance use outcomes of a
       randomized controlled trial. Oral presentation at the 2013 College on Problems of Drug Dependence
       Scientific Meeting, San Diego, CA.
*La Flair, L.N., Reboussin, B., Storr, C., Letourneau, E., Green, K., Mojtabai, R., Pacek, L., Alvanzo, A., Cullen,
       B., and Crum, R.M. (2013, June) “Childhood Victimization and Transitions in Stages of Alcohol
       Involvement among Women,” College on Problems of Drug Dependence Annual Meeting, June 15-20,
       2013. San Diego, CA (poster presentation).
DeHart, D., Dwyer, G., Burke, W., *Schwarz-Watts, D., Letourneau, E. J., & Seto, M. C. (February, 2014).
       Internet crimes against children: Patterns of escalation in offender chat logs. Wisconsin Psychological
       Association.
*Mauro, P. M., McCart, M. R., Naeger, S. E., Sheidow, A. J., & Letourneau, E. J. (June, 2014). Caregiver and
       youth engagement in mandated juvenile drug treatment: Influence on substance use. Oral presentation
       at the College on Problems of Drug Dependence. San Juan: Puerto Rico.
 Shields, R. T., *Walfield, S. M., Kahn, G., Harris, A. J., & Letourneau, E. J. (2015). Collateral Consequences of
       Sex Offender Registration and Notification: Results from a Survey of Young Adults. Paper presented at
       the Academy of Criminal Justice Sciences Annual Meeting, Orlando, FL.
Letourneau, E. J., Harris, A., Shields, R. T., *Walfield, S. M., & Kahn, G. (2015). Effects of juvenile sex offender
       notification and registration on mental health and social wellness: A survey of youth and their families.
       Paper presented at the Annual Meeting of the American Society of Criminology, Washington, DC.


Chaired Sessions, Invited Seminars, and Workshops
Take back the Presses: Publishing your clinical data. Full day workshop presented at the 18th Annual Research
        and Treatment Conference of the Association for the Treatment of Sexual Abusers, San Diego, CA,
        2000 (with Dr. Keith Kaufman)
Take back the presses: Publishing your clinical data. Full day workshop presented at the 19th Annual
        Research and Treatment Conference of the Association for the Treatment of Sexual Abusers, San
        Jose, CA, 2001 (with Dr. Keith Kaufman)
Violent media and violent behavior: The childhood connection. Colloquium presented at The Citadel,
        Charleston, SC, 2001.
Penile plethysmography and sex offenders. Full-day workshop. Wisconsin Sex Offender Treatment Network.
        Madison, WI, 2001
Best Practices: Ethical Considerations. Workshop presented at the 20th Annual Research and Treatment
        Conference of the Association for the Treatment of Sexual Abusers, Montreal, Quebec, 2002 (with C.
        Ball, R. T. Kinscherff, C. Latham, & B. Palmer)
Multisystemic Therapy with Adolescent Sex Offenders. Full day workshop presented at the 20th Annual
        Research and Treatment Conference of the Association for the Treatment of Sexual Abusers, Montreal,
        Quebec, 2002 (with Dr. Cindy Swenson)
Treatment of Juvenile Sex Offenders with Multisystemic Therapy. Workshop presentation at the 7th Annual
        Conference of the California Coalition of Sexual Offenders. San Francisco, CA. (2003)
Understanding Sex Offender Assessments. Half-day workshop presented at the South Carolina Association for
        the Treatment of Sexual Abusers (SCATSA) professional workshop. Charleston, SC, 2004
Community treatment of Sex Offenders (Symposium Chair). Association for the Treatment of Sexual Abusers
        Annual Conference. Albuquerque, NM, 2004
2-year follow-up of children and adolescents with non-criminal sexual behavior problems. In E. J. Letourneau
        (Chair) Children and Adolescents with Sexual Behavior Problems Become Sexual Offenders: Fact or
        Fiction? Symposium presented at the 24th Annual Research and Treatment Conference of the
        Association for the Treatment of Sexual Abusers. November 16-19, Salt Lake City, UT, 2005
MST with Juvenile Sexual Offenders. Full-day preconference workshop presented at the 24th Annual
        Research and Treatment Conference of the Association for the Treatment of Sexual Abusers.
        November 16-19, Salt Lake City, UT, 2005 (with D. Jones).
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Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.449 Filed 02/02/22 Page 5226
          J. Letourneau                                                           of|55
                                                                                     Page


Chair: Relevant Subgroups of Juveniles Who Have Sexually Offended. Symposium at the Association for the
        Treatment of Sexual Abusers 25th Annual Research and Treatment Conference, San Diego, IL, 2007
Chair: Relevant Distinctions Between Juveniles Who Sexually Offend. Paper presented at the Association for
        the Treatment of Sexual Abusers 25th Annual Research and Treatment Conference, San Diego, IL,
        2007 (with L. Saldana)
Sex offender registration and notification policies as applied to youths. Three hour training provided to
        therapists and probation officers at Webster University, North Charleston, SC, 2007
Do Sex Offender Registration and Notification Policies Work? Grand Rounds presented at the Medical
        University of South Carolina, Department of Psychiatry and Behavioral Sciences, 2007
Effectiveness of MST with Juvenile Sex Offenders: 1-year Outcomes. Presentation delivered to monthly
        interprofessional training at Dee Norton Low Country Children’s Center, Charleston, SC, 2008
MST-HIV: Description of Adaptations and Results from a Recently Completed Pilot. Grand Rounds,
        Department of Psychiatry and Behavioral Sciences, Medical University of South Carolina, 2009
Research update on juveniles who have sexually offended. Pre-conference seminar at the Association for the
        Treatment of Sexual Abuser’s 29th Annual Research and Treatment Conference. Phoenix, AZ, 2010
Risk reduction therapy for adolescents. Full day preconference seminar. 30th Annual Research and Treatment
        Conference. Association for the Treatment of Sexual Abusers. Toronto, CA, 2011 (with S. Hales)
Teens, technology and social interactions. Invited presentation at the Charleston County School District
        Leadership Conference. Charleston, SC, 2012
The effects of sex offender registration and notification as applied to Juveniles. Youth Justice: Pathways for
        Promising Futures. Dover, DE, 2012
Adolescents with problem sexual behaviors: Empirically and ethically supported practice guidelines. Half-day
        preconference seminar. 31st Annual Research and Treatment Conference, Association for the
        Treatment of Sexual Abusers. Denver, CO, 2012 (with D. Rothman)
Influence of childhood victimization on subsequent sexual offending. Treating Teens Psychiatry Program, The
        Reading Hospital and Medical Center. Reading, PA, 2012
Adolescents with problem sexual behaviors: Empirically and ethically supported practice guidelines. Half-day
        preconference seminar. 31st Annual Research and Treatment Conference, Association for the
        Treatment of Sexual Abusers. 2013 (with D. Rothman).
Adolescents with problem sexual behavior: Empirically and ethically supported practice. Invited workshop at
        the 18th Annual MnATSA Conference. Minneapolis, MN, 2014
Adolescents who have engaged in abusive sexual behaviors: Developing & maintaining empirically & ethically
        supported practices. Preconference workshop presented at the 33rd Annual Conference on Research
        and Treatment of the Association for the Treatment of Sexual Abusers. San Diego, CA, 2014 (with D.
        Rothman)
Adolescents with problem sexual behavior: Empirically and ethically supported practice. Invited workshop at
        the New York State ATSA conference. Albany, NY, 2015
Child sexual abuse: Prevention in school settings. Invited presentation to Prince Georges County School
        Psychologists’ Administrative Staff Meeting. Adelphi, MD, 2015
Revising Harmful Policy: An Inside Look at Changes to the US Juvenile Sex Crime Laws. Presentation to the
        Federal Advisory Commission on Juvenile Justice. Via teleconference. 2016.
Child Sexual Abuse: A Public Health Perspective. Keynote presentation at the annual conference of the
        Virginia Sex Offender Treatment Association. Virginia, 2016.
No Baby in this Bathwater: Juvenile Registration a Failed Policy. Concurrent Sessions. National Symposium on
        Sexual Behavior of Youth. Norman, OK, 2018
Child sexual abuse as a preventable public health problem. Johns Hopkins Medical Institute, Pediatric Grand
        Rounds. Baltimore, MD, 2019.
Responsible Behavior with Younger Children: A school-based prevention intervention. Symposium chair, with
        Amanda Ruzicka. ATSA 38th Annual Research and Treatment Conference. November 6-9, 2019,
        Atlanta, GA.

Reviewed conference presentations (lead presenter only)
Development and psychometric evaluation of the Sex Fantasy Questionnaire. Paper presented at the
      Association for the Treatment of Sexual Abusers Annual Conference, Portland, OR, 1992
       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.450 Filed 02/02/22 Page 5327
          J. Letourneau                                                           of|55
                                                                                     Page


The modification of denial in child abusers. Paper presented at the AABT 26th Annual Convention, Boston,
        MA, 1992
Consistent versus inconsistent reporting of child rape in a longitudinal study. Paper presented at the San Diego
        Conference on Responding to Child Maltreatment, San Diego, CA.
Comorbidity of sexual problems and PTSD. In D. Riggs (chair), Intimacy and relationships in the wake of
        trauma. Symposium conducted at the AABT 29th Annual Convention, Washington, DC, 1995
Risk factors for child sexual assault: Results from the National Survey of Adolescents. Paper to be presented
        at the San Diego Conference on Responding to Child Maltreatment, San Diego, CA, 1996.
A comparison of the reporting of violent and non-violent events in a longitudinal study. Paper presented at
        Trauma and Memory: An International Research Conference, Durham, NH, 1996
Presented Grand Rounds at the Medical College of Georgia, Augusta, GA, 1996
Research in action: Altering deviant sexual arousal in adult male sex offenders. Paper presented at the 16th
        Annual Research and Treatment Conference of the Association for the Treatment of Sexual Abusers,
        Washington, DC, 1997
Multiple systems treatment of a preadolescent female for inappropriate sexual behavior problems. Paper
        presented at the 16th Annual Research and Treatment Conference of the Association for the Treatment
        of Sexual Abusers, Washington, DC, 1997 (with C. Swenson and C. Keener)
Recidivism Factors Related to Sex Offender Probationers. Research presentation at the 7th Annual Colloquium
        of the American Professional Society on the Abuse of Children, San Antonio, TX, 1999
A Comparison of the Penile Plethysmograph with the Abel Assessment for Sexual Interest on Incarcerated
        Military Sex Offenders. Symposium presentation at the 18th Annual Research and Treatment
        Conference of the Association for the Treatment of Sexual Abusers, Orlando, FL, 1999
Comparison of Sex Offender Disclosure Prior to and During Polygraph Assessment. Workshop at the 15th
        Annual Midwest Conference on Child Sexual Abuse and Incest, Madison, WI, 1999
Comparison of Sex Offender Treatment Completers and Noncompleters. Workshop at the 15th Annual
        Midwest Conference on Child Sexual Abuse and Incest, Madison, WI, 1999
Self-reported data from incarcerated sex offenders: Results from the MSI, the Abel Assessment for Sexual
        Interest, and the penile plethysmograph. Symposium presentation at the 20th Annual Research and
        Treatment Conference of the Association for the Treatment of Sexual Abusers, San Antonio, TX, 2001
MST and Adolescent Sex Offenders. Psychiatry Grand Rounds, Medical University of South Carolina, 2002
MST and Adolescent Sex Offenders. Presented at "A Day of Discovery," Department of Psychiatry and
        Behavioral Sciences, Medical University of South Carolina, 2002
Best practices: Ethical considerations in forensic psychology. Paper presented at the 21st Annual Research
        and Treatment Conference, Montreal, Canada, 2002
Children and adolescents with sexual behavior problems: Treatment outcome. Paper presented at the San
        Diego Conference on Responding to Child Maltreatment, San Diego, CA, 2003
The treatment of juvenile sex offenders. Paper presentation at the Annual Mental Health Seminar, Roanoke,
        VA, 2003
Effectiveness Trial of Multisystemic Therapy With Juvenile Sexual Offenders. In C. Borduin (Chair)
        Multisystemic Therapy With Juvenile Sexual Offenders: Developing an Empirical Base. Symposium
        conducted at the American Psychological Association National Convention, Toronto, Canada, 2003
Effectiveness trial: MST with juvenile sexual offenders. Paper presentation at the American Psychological
        Association annual conference, Toronto, Canada, 2003
In between treatment and outcome: Moderators of multisystemic therapy outcomes. Paper presentation at the
        American Psychological Association annual conference, Toronto, Canada, 2003
Sex offender registration and notification policies applied to youths. Paper presentation at the National Institute
        of Justice 2006 Conference (K. Bachar, chair). Washington, DC, 2006
Registration and notification with juvenile sex offenders. Paper presentation at the Association for the
        Treatment of Sexual Abusers 25th Annual Research and Treatment Conference, Chicago, IL, 2006
The Ethics of Randomized Clinical Trials with Juveniles who Sexually Offend. Paper presented at the
        Conference on Ethics of Intervention Research with Children and Adolescents. Cleveland, OH, 2006
Intended and unintended effects of sex offender registration and notification policies as applied to minors.
        Paper presentation at the 21st Annual San Diego International Conference on Child and Family
        Maltreatment. San Diego, CA, 2007
       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.451 Filed 02/02/22 Page 5428
          J. Letourneau                                                           of|55
                                                                                     Page


Displaced Discretion: Unintended consequences of registration and notification policies on judicial decision
        making. Paper presented at the American Society of Criminology 59th Annual Meeting (K. Bachar,
        chair). Atlanta, GA, 2007
Effectiveness of MST with Juvenile Sex Offenders:12-month Outcomes. Paper presented at the Research and
        Training Center for Children’s Mental Health 21st Annual Conference, Tampa, FL, 2008
Multisystemic therapy for juvenile sexual offenders: 1-year results from a randomized effectiveness trial. In M.
        Miner (chair) Insights from the field: What recent research tells us about juvenile sexual offenders and
        intervention. Association for the Treatment of Sexual Abusers 27th Annual Research and Treatment
        Conference. Atlanta, GA, 2008
What research is telling us about registration. In K. M. Bumby (chair) Juvenile sex offender registration:
        Research, judicial perspective and shaping policy. Association for the Treatment of Sexual Abusers 27th
        Annual Research and Treatment Conference. Atlanta, GA, 2008
Effects and effectiveness of sex offender registration. In K. Bachar (chair) Sex offender laws and research
        realities: Judicial events, registration, notification, and recidivism. Paper presented at the American
        Society of Criminology 2008 annual conference, St. Louis, MO, 2008
The Effects of Lifetime Registration when Applied to Juvenile Offenders. Annual Conference of the National
        Council of Juvenile and Family Court Judges. Orlando, FL, 2009
Effects of South Carolina’s Sex Offender Registration and Notification Policy. In K. Bachar (Moderator) Sex
        Offenders in the Community: Post-release, registration, notification, and residency restrictions. The NIJ
        Conference, 2010.
MST for problem sexual behaviors: 2-year follow-up of a randomized controlled trial. Sexually abusive youth:
        community intervention and community reintegration (unchaired symposium). Association for the
        Treatment of Sexual Abuser’s 29th Annual Research and Treatment Conference. Phoenix, AZ, 2010
Sex offender registration and notification policy increases juvenile plea bargains. 30th Annual Research and
        Treatment Conference. Association for the Treatment of Sexual Abusers. Toronto, CA, 2011
Risk Reduction Therapy for Adolescents: Preliminary Findings. Joint Meeting on Adolescent Treatment
        Effectiveness. Washington DC, 2012
Effects of early school-based interventions on the prevention of future child sexual abuse. Paper presented at
        the 31st Annual Research and Treatment Conference. Association for the Treatment of Sexual
        Abusers. Denver, CO, 2012
Examining the impacts of juvenile sex offender registration and notification: Emerging research and its
        implications for policy reform and practice. Symposium presented at the 33rd Annual Conference on
        Research and Treatment of the Association for the Treatment of Sexual Abusers. San Diego, CA, 2014
Reducing Sexual Violence Among Adolescents: What Policies Hold the Most Promise? (with Michael
        Caldwell). 2016. Research Presentation at the annual conference of the Association for the Treatment
        of Sexual Abusers. Orlando, FL.
Research Matters! Moving toward evidence-informed policy. 2017. Presented as part of symposium
        Desistance from sexual crime: Empirical estimation and practice implications (R. K. Hanson, Chair).
        ATSA 36th Annual Research and Treatment Conference. October 25-28, Kansas City, Missouri.
McGinty EE, Nair R, Assini-Meytin LC, Stuart EA, Letourneau EJ. Impact of Medicaid Expansion on Reported
        Incidents of Child Neglect and Physical Abuse (2021). American Public Health Association (APHA)
        Annual Meeting (Oral Presentation).



ADDITIONAL INFORMATION

Personal Statement
For more than 30 years I have focused my research on child sexual abuse prevention, practice, and policy.
Child sexual abuse victimization and perpetration contribute significantly to the global burdens of disease and
mental illness. Ensuring a shared understanding of child sexual abuse as preventable, not inevitable, is critical
to engaging policymakers and other stakeholders to support prevention efforts. Over the course of my career,
I have garnered approximately $40 million in federal, foundation, and philanthropic funding for research. My
work includes rigorous evaluations individual and family-level prevention and treatment interventions (including
five randomized controlled trials), community-level prevention efforts focused on youth serving organizations,
       Case
Elizabeth     2:22-cv-10209-MAG-CI ECF No. 1-5, PageID.452 Filed 02/02/22 Page 5529
          J. Letourneau                                                           of|55
                                                                                     Page


and societal strategies to prevent child sexual abuse, including policy evaluations and the development of
communication frames that promote an understanding of child sexual abuse as preventable public health
problem among the public and among front-line practitioners. Ongoing endeavors include identifying,
evaluating, and disseminating effective child sexual abuse perpetration prevention interventions. I am PI of a
$10.3 million grant from Oak Foundation for a 5-year program of perpetration prevention work, and of a CDC-
funded R01 to evaluate one of the perpetration prevention interventions developed by my Moore Center
colleagues and me. That intervention, Help Wanted Prevention Intervention, is freely available on the web as
a self-guided intervention and has attracted the attention and support of Google, Facebook, and other big tech
companies. In the first year post-launch (May 2020-2021) the site attracted more than 190,000 visit. We also
work to promote additional prevention resources, including leading a campaign that was instrumental in a U.S.
federal budget line item to fund child sexual abuse prevention research. As part of our Oak Foundation work,
we are developing a global strategy to bring significantly more resources into child sexual abuse prevention.

Keywords
   • Child sexual abuse (CSA)
   • CSA Perpetration
   • CSA Policy
   • CSA Prevention
